  21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 1 of 64




                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: TENRGYS, LLC, et al., 1                                            CASE NO. 21-01515-JAW
DEBTORS (Jointly Administered)                                                     CHAPTER 11

                    JOINT CHAPTER 11 PLAN OF REORGANIZATION
                   OF TENRGYS, LLC AND ITS DEBTOR SUBSIDIARIES


THIS IS NOT A SOLICITATION OF AN ACCEPTANCE OR REJECTION OF THE PLAN.
ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL THIS DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE COURT. THIS DRAFT PLAN HAS NOT
BEEN APPROVED BY THE BANKRUPTCY COURT.



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    1 Jointly administered with In re Tellus Energy, LLC, No. 21-01516-JAW; In re Top Ten Holdings, LLC,
No. 21-01517-JAW; In re Treetop Midstream Services, LLC, No. 21-01518-JAW; In re Acadiana Mineral
Owners, LLC, No. 21-01519-JAW; In re Antioch Pipeline Company, LLC, No. 21-01546-JAW; In re BAX,
LLC, No. 21-01520-JAW; In re BGGCO, LLC, No. 21-01537-JAW; In re BOE, LLC, No. 21-01521-JAW; In re
BT Lands, LLC, No. 21-01538-JAW; In re BXO Lands, LLC, No. 21-01539-JAW; In re Cohay Conservation
Area, LLC, No. 21-01540-JAW; In re Cohay Wildlife, LLC, No. 21-01541-JAW; In re Eutaw Ventures, LLC,
No. 21-01522-JAW; In re Greenleaf CO2 Solutions, LLC, No. 21-01542-JAW; In re Highland Colony Capital,
LLC, No. 21-01543-JAW; In re Jurassic Seismic Company, No. 21-01549-JAW; In re LASO, LLC, No. 21-
01523-JAW; In re Leaf River Land Co., LLC, No. 21-01544-JAW; In re NOMS, LLC, No. 21-01524-JAW; In re
North Cohay, LLC, 21-01525-JAW; In re PCE, LLC, No. 21-01526-JAW; In re RFND, LLC, No. 21-01527-
JAW; In re RFS, LLC, No. 21-01528-JAW; In re SNPI, LLC, No. 21-01529-JAW; In re South Cohay, LLC, No.
21-01530-JAW; In re STP Ventures, LLC, No. 21-01531-JAW; In re Tallahala Exploration, LLC, No. 21-
01532-JAW; In re Telpico USA, LLC, No. 21-01533-JAW; In re TC Energy, LLC, No. 21-01534-JAW; In re
TPCO, LLC, No. 21-01545-JAW; In re WCOA, LLC, No. 21-01535-JAW; In re WYC Lands, LLC, No. 21-
01547-JAW; and In re Xlake Pipeline Company, LLC, No 21-01548-JAW.
   21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 2 of 64




                                                          Table of Contents

ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION
     OF TIME, AND GOVERNING LAW ................................................................................ 6
     A.     Deﬁned Terms. ....................................................................................................................... 6
     B.     Rules of Interpretation. ...................................................................................................... 18
     C.     Computation of Time. ........................................................................................................ 19
     D.     Governing Law. ................................................................................................................... 19
     E.     Reference to Monetary Figures. ....................................................................................... 19
     F.     Consultation, Information, Notice, and Consent Rights ............................................ 19
     G.     Conﬂicts. ............................................................................................................................... 19
ARTICLE II. ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS ..................... 20
     A.     Administrative Claims. ...................................................................................................... 20
            1.      General Administrative Claims. ......................................................................... 20
            2.      Professional Compensation................................................................................. 21
     B.     Priority Tax Claims. ............................................................................................................ 21
     C.     Statutory Fees. ..................................................................................................................... 22
ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND
     INTERESTS ........................................................................................................................ 22
     A.     Classiﬁcation of Claims and Interests. ........................................................................... 22
     B.     Treatment of Claims and Interests. ................................................................................. 23
            1.      Class 1 – Secured 2012 RBL Facility Claims. ................................................... 23
            2.      Class 2 – Other Secured Claims ......................................................................... 23
            3.      Class 3 – Other Priority Claims. ........................................................................ 24
            4.      Class 4 – 2013 Loan Claims. ................................................................................ 24
            5.      Class 5 – General Unsecured Claims. ............................................................... 26
            6.      Class 6 – TOG Claims........................................................................................... 26
            7.      Class 7 – Intercompany Claims.......................................................................... 27
            8.      Class 8 – Intercompany Interests in the Debtors. .......................................... 27
            9.      Class 9 – Existing Tenrgys Equity Interests. ................................................... 27
     C.     Special Provision Governing Unimpaired Claims. ...................................................... 28
     D.     Elimination of Vacant Classes. ......................................................................................... 28
     E.     Conﬁrmation Under Sections 1129(a)(10) and 1129(b) of the Bankruptcy
            Code. ...................................................................................................................................... 28
     F.     Voting Classes; Presumed Acceptance by Non-Voting Classes ................................ 28
     G.     Presumed Acceptance and Rejection of the Plan ........................................................ 28
     H.     Controversy Concerning Impairment. ........................................................................... 28
     I.     Subordinated Claims and Interests. ................................................................................ 29
ARTICLE IV. MEANS FOR IMPLEMENTATION OF THE PLAN ........................................ 29
     A.     Restructuring Support Agreement .................................................................................. 29
     B.     General Selement of Claims and Interests.................................................................. 29
     C.     Restructuring Transactions............................................................................................... 29
     D.     Cancellation of Existing Liens and Agreements .......................................................... 30
     E.     Sources of Consideration for Plan Distributions. ........................................................ 30
            1.      Exit Facility. ............................................................................................................ 31
            2.      Colombian Collateral Tender Transaction. ..................................................... 32
            3.      New Secured Term Loan. ..................................................................................... 32


                                                                            2
   21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 3 of 64




            4.       New Reorganized Tenrgys Membership Interests. ........................................ 33
     F.     Corporate Existence. .......................................................................................................... 33
     G.     Vesting of Assets in the Reorganized Debtors. ............................................................ 33
     H.     Corporate Action................................................................................................................. 34
     I.     Reorganized Equity Documents. ..................................................................................... 34
     J.     Directors and Oﬃcers of the Reorganized Debtors. ................................................... 35
     K.     Section 1146 Exemption. ................................................................................................... 36
     L.     SEC Reporting Requirements. .......................................................................................... 36
     M.     Director, Oﬃcer, Manager, and Employee Liability Insurance. ................................ 36
     N.     Employee Obligations of Treetop Midstream Services, LLC. ................................... 36
     O.     Eﬀectuating Documents; Further Transactions ........................................................... 37
     P.     Payment of Fees and Expenses of Certain Creditors .................................................. 37
     Q.     Preservation of Causes of Action. ................................................................................... 37
     R.     Preservation of Royalty and Working Interests ........................................................... 38
ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
     LEASES ............................................................................................................................... 38
     A.     Assumption and Rejection of Executory Contracts and Unexpired Leases. ......... 38
     B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases. ............ 39
     C.     Cure of Defaults for Assumed Executory Contracts and Unexpired
            Leases. .................................................................................................................................... 40
     D.     Preexisting Obligations to the Debtors under Executory Contracts and
            Unexpired Leases. ............................................................................................................... 41
     E.     Indemniﬁcation Obligations. ............................................................................................ 41
     F.     Insurance Policies. .............................................................................................................. 41
     G.     Modiﬁcations, Amendments, Supplements, Restatements, or Other
            Agreements........................................................................................................................... 42
     H.     Reservation of Rights. ........................................................................................................ 42
     I.     Nonoccurrence of Eﬀective Date. .................................................................................... 42
     J.     Contracts and Leases Entered Into Aer the Petition Date. ..................................... 42
ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS .............................................. 43
     A.     Timing and Calculation of Amounts to Be Distributed. ............................................ 43
     B.     Delivery of Distributions and Undeliverable or Unclaimed Distributions. ........... 43
            1.       Record Date for Distribution. ............................................................................. 43
            2.       Delivery of Distributions. .................................................................................... 43
            3.       Undeliverable Distributions and Unclaimed Property. ................................. 43
     C.     Manner of Payment. ........................................................................................................... 44
     D.     SEC Exemption. ................................................................................................................... 44
     E.     Compliance with Tax Requirements. ............................................................................. 44
     F.     No Postpetition or Default Interest on Claims. ............................................................ 44
     G.     Setoﬀs and Recoupment. ................................................................................................... 44
     H.     No Double Payment of Claims. ........................................................................................ 45
     I.     Claims Paid or Payable by ird Parties........................................................................ 45
            1.       Claims Paid by ird Parties. .............................................................................. 45
            2.       Claims Payable by ird Parties. ....................................................................... 45
            3.       Applicability of Insurance Policies. ................................................................... 46
     J.     Allocation of Distributions Between Principal and Interest. .................................... 46
ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT,


                                                                            3
   21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 4 of 64




     UNLIQUIDATED, AND DISPUTED CLAIMS .............................................................. 46
     A.    Allowance of Claims. ......................................................................................................... 46
     B.    Claims Administration Responsibilities......................................................................... 46
     C.    Estimation of Claims or Interests. ................................................................................... 47
     D.    Adjustment to Claims or Interests without Objection. .............................................. 47
     E.    Time to File Objections to Claims or Interests. ............................................................ 47
     F.    Disallowance of Claims. .................................................................................................... 47
     G.    Amendments to Proofs of Claim. .................................................................................... 48
     H.    No Distributions Pending Allowance. ............................................................................ 48
     I.    Distributions Aer Allowance. ........................................................................................ 48
     J.    No Interest. ........................................................................................................................... 48
ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION, AND RELATED
     PROVISIONS ..................................................................................................................... 49
     A.    Compromise and Selement of Claims, Interests, and Controversies.................... 49
     B.    Discharge of Claims............................................................................................................ 49
     C.    Release of Liens. .................................................................................................................. 50
     D.    Releases by the Debtors. .................................................................................................... 50
     E.    Releases by Holders of Claims and Interests. ............................................................... 52
     F.    Exculpation ........................................................................................................................... 53
     G.    Injunction .............................................................................................................................. 53
     H.    Protections Against Discriminatory Treatment........................................................... 54
     I.    Regulatory Activities .......................................................................................................... 54
     J.    Recoupment .......................................................................................................................... 55
     K.    Document Retention .......................................................................................................... 55
ARTICLE IX. CONDITIONS PRECEDENT TO CONFIRMATION AND
     CONSUMMATION OF THE PLAN ................................................................................ 55
     A.    Conditions Precedent to Conﬁrmation .......................................................................... 55
     B.    Conditions Precedent to the Eﬀective Date .................................................................. 56
     C.    Waiver of Conditions ......................................................................................................... 57
     D.    Substantial Consummation ............................................................................................... 57
     E.    Eﬀect of Failure of Conditions ......................................................................................... 57
ARTICLE X. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE
     PLAN ................................................................................................................................... 57
     A.    Modiﬁcation and Amendments ....................................................................................... 57
     B.    Eﬀect of Conﬁrmation on Modiﬁcations ....................................................................... 58
     C.    Revocation or Withdrawal of Plan .................................................................................. 58
ARTICLE XI. RETENTION OF JURISDICTION ..................................................................... 58
ARTICLE XII. MISCELLANEOUS PROVISIONS .................................................................... 60
     A.    Immediate Binding Eﬀect. ................................................................................................. 60
     B.    Additional Documents. ...................................................................................................... 61
     C.    Payment of Statutory Fees. ............................................................................................... 61
     D.    Reservation of Rights. ........................................................................................................ 61
     E.    Successors and Assigns. ..................................................................................................... 61
     F.    Notices. .................................................................................................................................. 62
     G.    Term of Injunctions or Stays ............................................................................................ 63
     H.    Entire Agreement ................................................................................................................ 63
     I.    Exhibits .................................................................................................................................. 63


                                                                           4
21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 5 of 64




    J.    Nonseverability of Plan Provisions ................................................................................. 63
    K.    Votes Solicited in Good Faith. .......................................................................................... 64
    L.    Waiver or Estoppel. ............................................................................................................ 64
    M.    Closing of Chapter 11 Cases ............................................................................................. 64




                                                              5
  21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 6 of 64




                                   ARTICLE I.
                    DEFINED TERMS, RULES OF INTERPRETATION,
                   COMPUTATION OF TIME, AND GOVERNING LAW

A.     Deﬁned Terms.

       As used in the Plan, capitalized terms have the meanings set forth in the Introduction
above or in the deﬁnitions below.

        1.      “2012 RBL Facility” means the Second Amended and Restated Credit Agreement
dated as of August 30, 2012, with Tenrgys as Borrower, Regions Bank as Administrative Agent
and LC Issuer, Certain Financial Institutions as Lenders, Regions Capital Markets, a division of
Regions Bank, as Sole Lead Arranger and Sole Book Runner, and Capital One, National
Association, as Syndication Agent, as amended by (a) the First Amendment thereto dated
December 21, 2012, (b) the Second Amendment thereto dated December 23, 2012, (c) the ird
Amendment thereto dated May 21, 2015, (d) the Fourth Amendment thereto dated February 1,
2017, (e) the Fih Amendment thereto dated April 3, 2017, and () the Sixth Amendment thereto
dated August 30, 2017.

       2.      “2013 Loan” means the loan or loans outstanding under the 2013 Loan Agreement.

       3.      “2013 Loan Agreement” means that certain Term Loan Agreement dated as of
December 23, 2013, with Tenrgys as Borrower, Wilmington Trust, National Association, as
Administrative Agent, FS Energy and Power Fund (“FS Energy”) as Lead Lender, and Certain
Financial Institutions as Lenders, as amended, restated, supplemented or otherwise modiﬁed
from time to time, and pursuant to which Tenrgys agreed to borrow and FS Energy agreed to
loan the principal sum of Seventy-Five Million Dollars ($75,000,000.00) and pursuant to which
the Debtors other than Tenrgys guaranteed the 2013 Loan, and other documents executed in
connection therewith.

        4.     “2013 Loan Claim” means any Claim for obligations arising under, or relating to,
the 2013 Loan and/or the 2013 Loan Agreement and other documents entered in connection
therewith, including without limitation Claims for all principal amounts outstanding, interest,
default interest, fees, expenses, costs and other charges arising thereunder or related thereto.

         5.     “Administrative Claim” means a Claim for costs and expenses of administration
of the Estates under sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a)
the actual and necessary costs and expenses incurred on or aer the Petition Date through the
Eﬀective Date of preserving the Estates and operating the businesses of the Debtors; (b) Allowed
Professional Fee Claims; (c) all fees and charges assessed against the Estates under chapter 123
of title 28 of the United States Code, 28 U.S.C. §§ 1911–1930; and (d) all Intercompany Claims
authorized under the Cash Management Order.

       6.     “Administrative Claims Bar Date” means the deadline for Filing requests for
payment of Administrative Claims other than those that accrued in the ordinary course of the
Debtors’ business, which such deadline: (a) with respect to General Administrative Claims other
than those that were accrued in the ordinary course of business, shall be 30 days aer the



                                                6
  21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 7 of 64




Eﬀective Date; and (b) with respect to Professional Fee Claims, shall be 60 days aer the Eﬀective
Date.

       7.     “Aﬃliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.
With respect to any Person that is not a Debtor, the term “Aﬃliate” shall apply to such Person
as if such Person were a “debtor” for purposes of the deﬁnition in section 101(2) of the
Bankruptcy Code.

        8.      “Allowed” means with respect to any Claim or Interest, except as otherwise
provided herein: (a) a Claim or Interest in a liquidated amount as to which no objection has been
Filed prior to the Claims Objection Deadline and that is evidenced by a Proof of Claim or Interest,
as applicable, timely Filed by the applicable Bar Date or that is not required to be evidenced by
a Filed Proof of Claim or Interest, as applicable, under the Plan, the Bankruptcy Code, or a Final
Order; (b) a Claim or Interest that is scheduled by the Debtors as neither disputed, contingent,
nor unliquidated, and as for which no Proof of Claim or Interest, as applicable, has been timely
Filed in an unliquidated or a diﬀerent amount; or (c) a Claim or Interest that is upheld or
otherwise allowed (i) under the Plan, (ii) in any stipulation that is approved by the Bankruptcy
Court, (iii) under any contract, instrument, indenture, or other agreement entered into or
assumed in connection herewith, or (iv) by Final Order (including any such Claim to which the
Debtors had objected or which the Bankruptcy Court had disallowed prior to such Final Order);
provided, that with respect to a Claim or Interest described in clauses (a) and (b) above, such
Claim or Interest shall be considered Allowed only if and to the extent that with respect to such
Claim or Interest no objection to the allowance thereof has been or, in the Debtors’ or
Reorganized Debtors’ reasonable good faith judgment, may be interposed within the applicable
period of time ﬁxed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Court, or
such an objection is so interposed and the Claim or Interest, as applicable, shall have been
Allowed by a Final Order. Any Claim that has been or is hereaer listed in the Schedules as
contingent, unliquidated, or disputed, and for which no Proof of Claim or Interest is or has been
timely Filed, is not considered Allowed and shall be expunged without further action by the
Debtors and without further notice to any party or action, approval, or order of the Court.
Notwithstanding anything to the contrary herein, no Claim of any Entity subject to section
502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full
the amount that it owes such Debtor or Reorganized Debtor, as applicable. For the avoidance of
doubt, a Proof of Claim or Interest Filed aer the Bar Date shall not be Allowed for any purposes
whatsoever absent entry of a Final Order allowing such late-Filed Claim. “Allow” and “Allowing”
shall have correlative meanings.

      9.     “Assumed Executory Contracts and Unexpired Leases” means those Executory
Contracts and Unexpired Leases to be assumed pursuant to the Plan by the applicable
Reorganized Debtors, as set forth on the Assumed Executory Contract and Unexpired Lease List.

        10.     “Assumed Executory Contract and Unexpired Lease List” means the list, as
determined by the Debtors or the Reorganized Debtors, as applicable, of Executory Contracts
and Unexpired Leases (with proposed cure amounts, if any) that will be assumed by the
Reorganized Debtors, which list shall be included in the Plan Supplement; provided, that such
list with respect to Executory Contracts and/or Unexpired Leases shall be in form and substance
reasonably acceptable to the Consenting 2013 Loan Lender.


                                                7
  21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 8 of 64




        11.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–
1532, as amended.

        12.    “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Mississippi.

        13.   “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
promulgated under section 2075 of the Judicial Code and the general, local, and chambers rules
of the Bankruptcy Court, in each case as amended from time to time.

        14.    “Bar Date” means the applicable dates established by which Proofs of Claim must
be Filed under the Notice of Chapter 11 Bankruptcy Case (Dkt. # 86) and the substantially similar
notices ﬁled in each of the other Chapter 11 Cases.

        15.     “Business Day” means any day other than a Saturday, Sunday, or other day on
which commercial banks are authorized to close under the Laws of, or are in fact closed in, the
state of Mississippi.

       16.     “Cash” means the legal tender of the U.S. and equivalents thereof, including bank
deposits, checks, and other similar items.

        17.    “Cash Collateral Order” means the Final Order Authorizing Debtors to Use Cash
Collateral (Dkt. # ●).

       18.    “Cash Management Order” means the Final Order Authorizing Debtors to Continue
eir Existing Cash Management System and Maintain Existing Bank Accounts, and Continue
Intercompany Arrangements (Dkt. # ●).

        19.     “Causes of Action” means any action, claim, cross-claim, third-party claim, cause
of action, controversy, dispute, demand, right, lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account, defense,
remedy, oﬀset, power, privilege, proceeding, license, and franchise of any kind or character
whatsoever, known, unknown, foreseen or unforeseen, existing or hereaer arising, contingent
or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, secured or unsecured, assertable directly or derivatively (including any
alter ego theories), whether arising before, on, or aer the Petition Date, in contract or in tort,
in law or in equity or under any other theory of law (including under any state or federal
securities laws). For the avoidance of doubt, Cause of Action also includes (i) any right of setoﬀ,
counterclaim, or recoupment and any claim for breach of contract or for breach of duties imposed
by law or in equity, (ii) the right to object to Claims or Interests, (iii) any claim under section 362
or chapter 5 of the Bankruptcy Code, (iv) any claim or defense including fraud, mistake, duress,
and usury and any other defenses set forth in section 558 of the Bankruptcy Code, and (v) any
state law fraudulent transfer claim.

       20.    “Chapter 11 Cases” means, collectively: (a) when used with reference to a
particular Debtor, the case pending for that Debtor under chapter 11 of the Bankruptcy Code in
the Bankruptcy Court; and (b) when used with reference to all the Debtors, the jointly
administered chapter 11 cases pending for the Debtors in the Bankruptcy Court.


                                                  8
  21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 9 of 64




       21.     “Claim” means any claim, as deﬁned in section 101(5) of the Bankruptcy Code,
against any of the Debtors.

        22.   “Claims Objection Deadline” means the later of: (a) the date that is 180 days aer
the Eﬀective Date; and (b) such other date as may be ﬁxed by the Bankruptcy Court, aer notice
and hearing, upon a motion Filed before the expiration of the deadline to object to Claims or
Interests.

       23.    “Claims Register” means the oﬃcial register of Claims against the Debtors
maintained by the Clerk of the Bankruptcy Court with respect to each Debtor.

        24.    “Class” means any category of Claims against or Interests in the Debtors as
classiﬁed by the Plan pursuant to section 1122(a) of the Bankruptcy Code.

        25.    “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case
Filing system.

       26.    “Conﬁrmation” means the Bankruptcy Court’s entry of the Conﬁrmation Order
on the docket of the Chapter 11 Cases.

       27.    “Conﬁrmation Date” means the date upon which the Bankruptcy Court enters the
Conﬁrmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy
Rules 5003 and 9021.

        28.   “Conﬁrmation Hearing” means the hearing held by the Bankruptcy Court to
consider Conﬁrmation of the Plan pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and
1129 of the Bankruptcy Code, as such hearing may be, or may have been, continued from time
to time.

        29.     “Conﬁrmation Order” means the order of the Bankruptcy Court conﬁrming the
Plan under section 1129 of the Bankruptcy Code in a form consistent with the rights of the
parties to the RSA and in form and substance acceptable to the Consenting 2013 Loan Lender.

       30.     “Consenting 2013 Loan Lender” means FSEP or beneﬁcial holders of, or investment
advisors, sub-advisors, or managers of discretionary accounts that hold, a 2013 Loan Claim that
have executed and delivered counterpart signature pages to the RSA, a joinder to the RSA, or a
transfer agreement to the RSA to counsel to the Debtors.

        31.    “Consenting 2013 Loan Lender Professionals” means, collectively, (a) Davis Polk &
Wardwell and Adams and Reese LLP, as legal counsel to the Consenting 2013 Loan Lender and
(b) any other advisors providing advice to the Consenting 2013 Loan Lender in connection with
the Chapter 11 Cases or in furtherance of the Plan.

       32.     “Consenting 2013 Loan Lender Restructuring Expenses” means all unpaid and
reasonable and documented and out-of-pocket expenses of the Consenting 2013 Loan Lender
Professionals incurred in connection with the RSA, the Chapter 11 Cases or in furtherance of the
Plan.



                                               9
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 10 of 64




       33.     “Consummation” means the occurrence of the Eﬀective Date.

        34.   “Cure Claim” means all amounts, including an amount of $0.00, required to cure
any monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount
as may be agreed upon by the parties under an Executory Contract or Unexpired Lease) that is
to be assumed by the Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code.

        35.    “Debtors” means, collectively: Tenrgys, LLC; Acadiana Mineral Owners, LLC;
Antioch Pipeline Company, LLC; BAX, LLC; BGGCO, LLC; BOE, LLC; BT Lands, LLC; BXO
Lands, LLC; Cohay Conservation Area, LLC; Cohay Wildlife, LLC; Eutaw Ventures, LLC;
Greenleaf CO2 Solutions, LLC; Highland Colony Capital, LLC; Jurassic Seismic Company; LASO,
LLC; Leaf River Land Co., LLC; NOMS, LLC; North Cohay, LLC; PCE, LLC; RFND, LLC; RFS, LLC;
SNPI, LLC; South Cohay, LLC; STP Ventures, LLC; Tallahala Exploration, LLC; TC Energy, LLC;
Tellus Energy, LLC; Telpico USA, LLC; Top Ten Holdings, LLC; TPCO, LLC; Treetop Midstream
Services, LLC; WCOA, LLC; WYC Lands, LLC; and Xlake Pipeline Company, LLC.

        36.     “Deﬁnitive Documents” means (A) the Plan; (B) the Confirmation Order; (C) the
Disclosure Statement; (D) any motion seeking approval of the Disclosure Statement and the
Disclosure Statement Order, and the other Solicitation Materials; (E) the Exit Facility Documents;
(F) any other material (with materiality determined in the reasonable discretion of the advisors to
the Consenting 2013 Loan Lender in consultation with the Debtors’ advisors) pleadings or material
motions the Debtors plan to file in connection with the Chapter 11 Cases all orders sought pursuant
thereto, including any and all motions filed to assume, assume and assign, or reject an executory
contract or unexpired lease and the order or orders of the Bankruptcy Court approving such
motions (for the avoidance of doubt, the following are not material pleadings or material motions:
ministerial notices and similar ministerial documents; retention applications; fee applications; fee
statements; any similar pleadings or motions relating to the retention or fees of any professional;
statements of financial affairs and schedules of assets and liabilities), and all related documents,
including, but not limited to and if applicable, exit financing documents, cash collateral orders and
related budgets, and all related agreements, documents, exhibits, annexes and schedules thereto;
(H) the Plan Supplement (and all documents comprising the Plan Supplement, including for the
avoidance of doubt and without limitation the New Secured Term Loan Documents and the
Reorganized Equity Documents); (I) such other agreements and documentation desired or
necessary to consummate and document the transactions contemplated by the RSA; and (J) any
management incentive plan and related documents or agreements, subject to the Consenting 2013
Loan Lender’s consent rights as set forth in the RSA and the Plan.

       37.      “D&O Liability Insurance Policies” means all insurance policies (including any “tail
policy”) of any of the Debtors (or the Debtors or the Reorganized Debtors, as applicable, to the
extent such coverage applies to the Debtors) for current or former directors’, managers’, and
oﬃcers’ liability, in each case as existing as of the Petition Date.

        38.    “Disclosure Statement” means the Disclosure Statement for the Joint Chapter 11 Plan
of Reorganization of Tenrgys, LLC and its Subsidiaries, dated [September [ ], 2021 (Dkt # )], as
may be amended, including all exhibits and schedules thereto, as approved by the Disclosure
Statement Order.




                                                 10
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 11 of 64




       39.     “Disclosure Statement Order” means the Order (I) Approving the Adequacy of the
Disclosure Statement, (II) Approving the Solicitation and Notice Procedures with Respect to
Conﬁrmation of the Debtors’ Proposed Joint Plan of Reorganization, and (III) Scheduling Related
Dates (Dkt. # __).

       40.    “Disputed” means with regard to any Claim or Interest, a Claim or Interest that
has not been Allowed but has not been disallowed pursuant to this Plan or a Final Order of the
Bankruptcy Court or other court of competent jurisdiction.

        41.    “Distribution Record Date” means the record date for purposes of making
distributions under the Plan on account of Allowed Claims and Allowed Interests, which date
shall be the date that is ﬁve (5) Business Days aer the Conﬁrmation Date or such other date as
designated in a Final Order of the Bankruptcy Court.

        42.     “Eﬀective Date” means, with respect to the Plan and any such applicable Debtor(s),
the date that is the ﬁrst Business Day upon which: (a) no stay of the Conﬁrmation Order is in
eﬀect; (b) all conditions precedent speciﬁed in Article IX.A and Article IX.B have been satisﬁed
or waived (in accordance with Article IX.C); and (c) the Plan is declared eﬀective with respect to
such applicable Debtor(s).

       43.     “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

       44.    “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter
11 Case under section 541 of the Bankruptcy Code.

       45.     “Exchange Act” means the Securities Exchange Act of 1934, as amended.

        46.    “Exculpated Parties” means, collectively, and in each case in its capacity as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) the Consenting 2013 Loan Lender; (d) any
statutory commiee appointed in the Chapter 11 Cases and each of such commiee’s members;
and (e) with respect to each of the foregoing Persons in clauses (a) through (d), such Person’s
aﬃliates; and () with respect to each of the foregoing Persons in clauses (a) through (e), such
Person’s Related Parties, in each case in their capacity as such.

       47.     “Executory Contract” means a contract to which one or more of the Debtors is a
party and that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy
Code, including for the avoidance of doubt, the RSA.

         48.   “Existing Governance Documents” means the Debtors’ respective certiﬁcate of
incorporation, certiﬁcate of formation, bylaws, charter, trust agreement, indenture, limited
liability company agreement, partnership agreement, shareholder agreement and such other
formation and constituent documents in eﬀect prior to the Eﬀective Date.

       49.   “Existing Tenrgys Equity Interests” means, collectively, all Interests in Tenrgys and
the other Debtors arising from or related to the LLC membership interests that existed
immediately prior to the Petition Date.




                                               11
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 12 of 64




        50.    “Exit Facility” means that certain unsecured junior credit facility in an amount of
up to $5 million to be provided by the Debtors’ management to the Reorganized Debtors, as
provided in Article IV.E.1 of the Plan and in the Exit Facility Documents. For the avoidance of
doubt, the Exit Facility shall be subordinated in all respects to the New Secured Term Loan.

       51.   “Exit Facility Documents” means, collectively, the agreements and related
documents governing the Exit Facility, which documents shall be included in the Plan
Supplement in form and substance reasonably acceptable to the Debtors and the Consenting
2013 Loan Lender.

        52.    “Federal Judgment Rate” means the federal judgment rate in eﬀect as of the
Petition Date, compounded annually.

       53.   “File,” “Filed,” or “Filing” means ﬁle, ﬁled, or ﬁling in the Chapter 11 Cases with
the Bankruptcy Court or its authorized designee in the Chapter 11 Cases.

        54.     “Final Order” means (i) an order, ruling or judgment of the Bankruptcy Court or
other court of competent jurisdiction with respect to the relevant subject maer, which has not
been reversed, stayed, modiﬁed, vacated, or amended as to which the time to appeal, or seek
certiorari or move for a new trial, stay, reargument, reconsideration or rehearing has expired
according to applicable law and no appeal or petition for certiorari or other proceedings for a
new trial, stay, reargument, reconsideration or rehearing has been timely taken, or as to which
any appeal that has been taken or any petition for certiorari that has been or may be timely Filed
has been withdrawn or resolved by the highest court to which the order or judgment was
appealed or from which certiorari was sought or the new trial, stay, reargument, reconsideration
or rehearing shall have been denied, resulted in no stay pending appeal of such order, or has
otherwise been dismissed with prejudice; provided, however, that the possibility that a motion
under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
Bankruptcy Rules, may be ﬁled relating to such order shall not prevent such order from being a
Final Order.

       55.     “FS Energy” means FS Energy and Power Fund.

       56.     “FSEP” means FSEP Investments, Inc., a Delaware corporation.

       57.     “General Administrative Claim” means any Administrative Claim, other than a
Professional Fee Claim.

        58.    “General Unsecured Claim” means any Claim against a Debtor that is not an
Administrative Claim, Priority Tax Claim, Other Priority Claim, Other Secured Claim, 2012 RBL
Facility Claim, or 2013 Loan Claim.

        59.    “Governing Body” means the manager, board of directors, board of managers,
general partner, investment commiee, special commiee, or such similar governing body of an
Entity (including the manager and board of Tenrgys and any other Debtor).

      60.    “Governmental Unit” has the meaning set forth in section 101(27) of the
Bankruptcy Code.


                                               12
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 13 of 64




       61.     “Holder” means an Entity holding a Claim or an Interest, as applicable.

        62.     “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims
or Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.

      63.      “Indemniﬁcation Obligations” means each of the Debtors’ obligations existing
immediately prior to the Eﬀective Date, whether in the Existing Governance Documents or
otherwise, to indemnify the current and former oﬃcers, directors, managers, members, agents,
or employees, in each case solely in their capacity as such.

       64.    “Insurance Policies” means any insurance policies, insurance selement
agreements, coverage-in-place agreements, or other agreements relating to the provision of
insurance entered into by or issued to or for the beneﬁt of any of the Debtors or their
predecessors.

       65.    “Intercompany Claim” means any Claim other than a TOG Claim held by a Debtor
or a non-Debtor Aﬃliate of a Debtor on the one hand, against a Debtor or a non-Debtor Aﬃliate
of a Debtor on the other hand.

       66.   “Intercompany Interest” means an Interest in a Debtor held by a Debtor or a non-
Debtor Aﬃliate of a Debtor.

        67.     “Interest” means any equity interest (as deﬁned in section 101(16) of the
Bankruptcy Code) in any Debtor, including the Existing Tenrgys Equity Interests, all ordinary
shares, units, common stock, preferred stock, membership interest, partnership interest or other
instrument, evidencing any ﬁxed or contingent ownership interest in a Debtor, whether or not
transferable, including any option, warrant, or other right, contractual or otherwise, to acquire
any such interest, that existed immediately before the Eﬀective Date.

      68.    “Interim Compensation Order” means the Order Establishing Procedures for Interim
Compensation and Reimbursement of Expenses for Professionals (Dkt. # ___)

       69.     “Interior” means the United States Department of the Interior.

       70.     “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

      71.      “Investment Company Act” means the Investment Company Act of 1940, as
amended.

       72.     “IRS” means the Internal Revenue Service.

       73.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

        74.     “Law” means any federal, state, local, or foreign law (including common law),
statute, code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly
adopted, promulgated, issued, or entered by a governmental authority of competent jurisdiction
(including the Bankruptcy Court).

       75.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.


                                                 13
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 14 of 64




         76.   “New Reorganized Tenrgys Membership Interests” means (a) the new limited
liability company units representing a membership interest equal to 10.00% of the equity in the
Reorganized Tenrgys, which shall be issued and distributed solely to the Consenting 2013 Loan
Lender under and in accordance with the Plan and (b) any Existing Tenrgys Equity Interests that
are reinstated pursuant to the Plan (as such Existing Tenrgys Equity Interests may be modiﬁed
pursuant to the Reorganized Equity Documents).

        77.     “New Secured Term Loan” means the new $40 million ﬂoating rate ﬁrst-lien term
loan to be issued to the Consenting 2013 Loan Lender on the Eﬀective Date, as described in more
detail in Article III.B.42(iii) of the Plan, and otherwise on terms set forth in the RSA and RSA
Financing Term Sheet and in each case acceptable to the Consenting 2013 Loan Lender, and as
set forth in the Plan Supplement.

       78.    “New Secured Term Loan Documents” shall mean any and all documentation
necessary to eﬀectuate the incurrence of the New Secured Term Loan to be received by the
Consenting 2013 Loan Lender under the Plan, and which shall be consistent with the RSA and
otherwise acceptable to the Consenting 2013 Loan Lender.

       79.     “Other Priority Claims” means any Claim against a Debtor, other than an
Administrative Claim or a Priority Tax Claim, entitled to priority in right of payment under
section 507(a) of the Bankruptcy Code.

       80.    “Other Secured Claims” means any Secured Claim against a Debtor other than the
Secured 2012 RBL Facility Claims.

       81.    “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

     82.    “Petition Date” means September 17, 2021, the date on which the Debtors
commenced the Chapter 11 Cases.

         83.     “Plan Supplement” means the compilation of documents and forms of documents,
agreements, schedules, and exhibits to the Plan (in each case, as may be altered, amended,
modiﬁed or supplemented from time to time in accordance with the terms of the RSA (including
the consent rights set forth therein), to be Filed by the Debtors no later than 7 days before the
Conﬁrmation Hearing or such later date as may be approved by the Bankruptcy Court on notice
to parties in interest, and additional documents Filed before the Eﬀective Date as amendments
to the Plan Supplement, including without limitation the following: (a) the Assumed Executory
Contract and Unexpired Lease List; (b) the Rejected Executory Contract and Unexpired Lease
List; (c) the Schedule of Retained Causes of Action; (d) the New Secured Term Loan Documents;
(e) the Reorganized Equity Documents, and () the Exit Facility Documents. Any reference to the
Plan Supplement in the Plan shall include each of the documents identiﬁed above as (a) through
(), as applicable. Any and all Plan Supplement documents shall be in form and substance
reasonably acceptable to the Consenting 2013 Loan Lender (other than the Reorganized Tenrgys
LLC Agreement, if any, and the New Secured Term Loan Documents, which shall be in form and
substance acceptable to the Consenting 2013 Term Loan Lender).

        84.    “Priority Tax Claim” means the Claims of Governmental Units of the type speciﬁed
in section 507(a)(8) of the Bankruptcy Code.


                                               14
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 15 of 64




        85.     “Pro Rata” means, with respect to an Allowed Claim, the percentage represented
by a fraction (i) the numerator of which shall be an amount equal to such Claim and (ii) the
denominator of which shall be an amount equal to the aggregate amount of Allowed and
estimated Claims in the same Class as such Claim, except in cases where Pro Rata is used in
reference to multiple Classes, in which case Pro Rata means the portion that such Holder’s Claim
in a particular class bears to the aggregate amount of all Allowed and estimated Claims in such
multiple Classes.

       86.     “Professional” means an Entity: (a) retained under a Bankruptcy Court order in
accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for
services rendered before or on the Conﬁrmation Date, under sections 327, 328, 329, 330, 331, and
363 of the Bankruptcy Code; or (b) awarded compensation and reimbursement by the
Bankruptcy Court under section 503(b)(4) of the Bankruptcy Code.

        87.    “Professional Fee Claims” means all Administrative Claims for the compensation
of Professionals and the reimbursement of expenses incurred by such Professionals through and
including the Eﬀective Date to the extent such fees and expenses have not been paid under the
Interim Compensation Order or any other order of the Bankruptcy Court. To the extent the
Bankruptcy Court denies or reduces by a Final Order any amount of a Professional’s requested
fees and expenses, then the amount by which such fees or expenses are reduced or denied shall
reduce the applicable Professional Fee Claim.

      88.    “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the
Chapter 11 Cases.

        89.     “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and
Interests, that the Claim or Interest shall be rendered unimpaired, including without limitation
through the payment of fees and expenses due in the ordinary course, for purposes of section
1124 of the Bankruptcy Code.

        90.      “Rejected Executory Contract and Unexpired Lease List” means the list, as
determined by the Debtors or the Reorganized Debtors, as applicable, of Executory Contracts
and Unexpired Leases that will be rejected by the Reorganized Debtors under the Plan, which
list shall be included in the Plan Supplement; provided, that such list with respect to Executory
Contracts and/or Unexpired Leases shall be in form and substance reasonably acceptable to the
Consenting 2013 Loan Lender.

        91.    “Related Parties” means, collectively, each of, and in each case in its capacity as
such, current and former directors, managers, oﬃcers, equity holders (regardless of whether such
interests are held directly or indirectly), aﬃliated investment funds or investment vehicles,
managed accounts or funds, predecessors, participants, successors, assigns, subsidiaries,
partners, limited partners, general partners, principals, members, management companies, fund
advisors or managers, employees, agents, trustees, advisory board members, ﬁnancial advisors,
aorneys (including any other aorneys or professionals retained by any current or former
director or manager in his or her capacity as director or manager of an Entity), accountants,
investment bankers, consultants, representatives, and other professionals and advisors and any
such person’s or Entity’s respective heirs, executors, estates, and nominees.



                                               15
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 16 of 64




        92.     “Released Parties” means, collectively, (a) the Debtors, (b) the Reorganized
Debtors, (c) the Consenting 2013 Loan Lender, (d) any Releasing Party, (e) with respect to each
of the foregoing Persons, in clauses (a) through (d), each of their aﬃliates, and () with respect
to each of the foregoing Persons in clauses (a) through (e), such Person’s Related Parties, in each
case in their capacity as such; provided that any Holder of a Claim or Interest that validly opts
out of the releases contained in the Plan or validly objects to the releases contained in the Plan
and subjection is not resolved by the entry of the Conﬁrmation Order shall not be a “Released
Party.”

        93.      “Releasing Parties” means, collectively, (a) the holders of all Claims or Interests
who vote to accept the Plan, (b) the holders of all Claims or Interests whose vote to accept or
reject the Plan is solicited but who do not vote either to accept or to reject the Plan, (c) the
holders of all Claims or Interests who vote, or are deemed, to reject the Plan but do not opt out
of granting the releases set forth therein, (d) the holders of all Claims and Interests who were
given notice of the opportunity to opt out of granting the releases set forth therein but did not
opt out, (e) all other holders of Claims and Interests to the maximum extent permied by law, ()
the Consenting 2013 Loan Lender, () with respect to each of the foregoing Persons, in clauses
(a) through (e), each of their aﬃliates, and (g) with respect to each of the foregoing Persons in
clauses (a) through (), such Person’s Related Parties, in each case in their capacity as such;
provided that any Holder of a Claim or Interest that validly opts out of the releases contained in
the Plan or validly objects to the releases contained in the Plan and such objection is not resolved
by the entry of the Conﬁrmation Order shall not be a “Releasing Party.”

      94.     “Reorganized” means, as to any Debtor or Debtors, such Debtor(s) as reorganized
under the Plan or any successor thereto, by merger, consolidation, taxable disposition, or
otherwise, on or aer the Eﬀective Date.

       95.    “Reorganized Debtor” means each Debtor, as reorganized under the Plan, or any
successor or assign thereto, by merger, amalgamation, consolidation, or otherwise, on or aer
the Eﬀective Date.

       96.     “Reorganized Equity” means all the Interests in the Debtors.

       97.    “Reorganized Equity Documents” means the limited liability company agreements
and other corporate documentation for each of the Debtors, including the Reorganized Tenrgys
LLC Agreement, certiﬁcates of incorporation, certiﬁcates of formations, bylaws, charters, trust
agreements, indentures, partnership agreements, any shareholders’ agreements, and any and all
documentation to implement, issue, and distribute the new equity of the Reorganized Debtors,
which shall be individually and collectively be in form and substance acceptable to the
Consenting 2013 Loan Lender.

      98.    “Reorganized Tenrgys Board” means the board of directors or managers of
Reorganized Tenrgys on and aer the Eﬀective Date.

      99.   “Reorganized Tenrgys LLC Agreement” means the existing limited liability
company agreement of Tenrgys, or, if required to implement the Restructuring Transactions, an
amended and restated limited liability company agreement, and other Reorganized Equity



                                                16
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 17 of 64




Documents for Reorganized Tenrgys, in each case subject to the consent rights of the Consenting
2013 Loan Lender set forth in the RSA.

        100. “Restructuring Transactions” means, collectively, those mergers, amalgamations,
consolidations, arrangements, continuances, restructurings, transfers, conversions, dispositions,
liquidations, dissolutions, or other corporate transactions that the Debtors and the Consenting
2013 Loan Lender reasonably determine to be necessary or desirable to implement the Plan with
respect to the Debtors, on the terms set forth in the Plan and the RSA and subject to the consent
and approval rights of the Consenting 2013 Loan Lender as set forth herein or therein.

        101. “Royalty and Working Interests” means the working interests granting the right to
exploit oil and gas, and certain other royalty or mineral interests, including but not limited to,
landowner’s royalty interests, overriding royalty interests, net proﬁt interests, non-participating
royalty interests, and production payments.

       102. “RSA” means that certain Restructuring Support and Lock-Up Agreement, dated as
of September 16, 2021, by and among the Consenting 2013 Loan Lender and the Debtors, as may
be amended, restated, or supplemented from time to time, including for the avoidance of doubt
any exhibits (including term sheets) thereto.

       103. “Schedules” means the schedules of assets and liabilities, schedules of Executory
Contracts or Unexpired Leases, and statement of ﬁnancial aﬀairs Filed by the Debtors under
section 521 of the Bankruptcy Code, the oﬃcial bankruptcy forms, and the Bankruptcy Rules.

       104. “Schedule of Retained Causes of Action” means the schedule of certain Causes of
Action of the Debtors that are not released, waived, or transferred pursuant to the Plan, as the
same may be amended, modiﬁed, or supplemented from time to time.

       105.    “SEC” means the Securities and Exchange Commission.

        106. “Secured Claim” means a Claim (a) secured by a valid, perfected, and enforceable
Lien on collateral to the extent of the value of such collateral, as determined in accordance with
section 506(a) of the Bankruptcy Code or (b) subject to a valid right of setoﬀ pursuant to section
553 of the Bankruptcy Code.

       107. “Secured 2012 RBL Facility Claims” means any Claims on account of or arising
under the 2012 RBL Facility.

      108. “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, as
amended, together with the rules and regulations promulgated thereunder.

        109. “Security” or “Securities” has the meaning set forth in section 2(a)(1) of the
Securities Act.

       110.    “TOG” means Tellus Operating Group, LLC.

      111. “TOG Claim” means any Claim held by TOG against any Debtor that is not an
Administrative Claim or an Other Secured Claim.


                                                17
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 18 of 64




         112. “Unexpired Lease” means a lease to which one or more of the Debtors is a party
that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

       113. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of
Claims or Interests that is unimpaired within the meaning of section 1124 of the Bankruptcy
Code.

       114.    “U.S.” means the United States of America.

        115. “U.S. Trustee” means the Oﬃce of the U.S. Trustee Region 7 for the Southern
District of Texas.

B.     Rules of Interpretation.

        For the purposes of the Plan: (1) in the appropriate context, each term, whether stated in
the singular or the plural, shall include both the singular and the plural, and pronouns stated in
the masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter
gender; (2) unless otherwise speciﬁed, any reference herein to a contract, lease, instrument,
release, indenture, or other agreement or document being in a particular form or on particular
terms and conditions means that the referenced document shall be substantially in that form or
substantially on those terms and conditions; (3) unless otherwise speciﬁed, any reference herein
to an existing document, schedule, or exhibit, whether or not Filed, having been Filed or to be
Filed shall mean that document, schedule, or exhibit, as it may thereaer be amended, modiﬁed,
or supplemented; (4) any reference to an Entity as a Holder of a Claim or Interest includes that
Entity’s successors and assigns; (5) unless otherwise speciﬁed, all references herein to “Articles”
or “ARTICLES” are references to Articles hereof or hereto; (6) unless otherwise speciﬁed, all
references herein to exhibits are references to exhibits in the Plan Supplement; (7) unless
otherwise speciﬁed, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety
rather than to a particular portion of the Plan; (8) subject to the provisions of any contract,
certiﬁcate of incorporation, or similar formation document or agreement, by-law, instrument,
release, or other agreement or document entered into in connection with the Plan, the rights and
obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with the applicable federal law, including the Bankruptcy Code and Bankruptcy
Rules; (9) captions and headings to Articles are inserted for convenience of reference only and
are not intended to be a part of or to aﬀect the interpretation of the Plan; (10) unless otherwise
speciﬁed herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall
apply; (11) any term used in capitalized form herein that is not otherwise deﬁned but that is used
in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term
in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (12) all references to docket
numbers of documents Filed in the Chapter 11 Cases are references to the docket numbers under
the Bankruptcy Court’s CM/ECF system; (13) all references to statutes, regulations, orders, rules
of courts, and the like shall mean as amended from time to time, and as applicable to the Chapter
11 Cases, unless otherwise stated; (14) the words “include” and “including,” and variations
thereof, shall not be deemed to be terms of limitation, and shall be deemed to be followed by the
words “without limitation”; (15) any immaterial eﬀectuating provisions may be interpreted by
the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent
of the Plan all without further notice to or action, order, or approval of the Bankruptcy Court or



                                                18
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 19 of 64




any other Entity; and (16) except as otherwise speciﬁcally provided in the Plan to the contrary,
references in the Plan to the Debtors or to the Reorganized Debtors shall mean the Debtors and
the Reorganized Debtors, as applicable, to the extent the context requires.

C.     Computation of Time.

        Unless otherwise speciﬁcally stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur under the Plan shall occur on a day that is not a Business Day, then such
transaction shall instead occur on the next succeeding Business Day. Any action to be taken on
the Eﬀective Date may be taken on or as soon as reasonably practicable aer the Eﬀective Date.

D.     Governing Law.

       Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise speciﬁcally stated, the laws of the State of New
York or, to the extent agreed by the Consenting 2013 Loan Lender, Mississippi, without giving
eﬀect to the principles of conﬂict of laws, shall govern the rights, obligations, construction, and
implementation of the Plan, any agreements, documents, instruments, or contracts executed or
entered into in connection with the Plan (except as otherwise set forth in those agreements, in
which case the governing law of such agreement shall control); provided, however, that corporate
governance maers relating to the Debtors or the Reorganized Debtors, as applicable, shall be
governed by the laws of the state of incorporation or formation of the relevant Debtor or
Reorganized Debtor, as applicable.

E.     Reference to Monetary Figures.

      All references in the Plan to monetary ﬁgures shall refer to currency of the U.S., unless
otherwise expressly provided.

F.     Consultation, Information, Notice, and Consent Rights

        Notwithstanding anything herein to the contrary, any and all consultation, information,
notice, consent, and approval rights (collectively, the “Consent Rights”) of the parties to the RSA
as set forth therein (including all exhibits thereto) with respect to the form and substance of this
Plan, all exhibits to the Plan, the Plan Supplement, and all other Deﬁnitive Documents, including
any amendments, restatements, supplements, or other modiﬁcations to such agreements and
documents, and any consents, waivers, or other deviations under or from any such documents,
shall be incorporated herein by this reference and fully enforceable as if state in full herein.

G.     Conﬂicts.

       In the event of an inconsistency between the Plan and the Disclosure Statement, the
terms of the Plan shall control in all respects. In the event of an inconsistency between the Plan
and the Plan Supplement or the Deﬁnitive Documents, including the schedules or exhibits, the
terms of the relevant provision in the Plan Supplement or the Deﬁnitive Documents shall control
(unless stated otherwise in such Plan Supplement document, other Deﬁnitive Documents or in
the Conﬁrmation Order). In the event of an inconsistency between the Plan or any Deﬁnitive


                                                19
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 20 of 64




Documents or other documents, schedules, or exhibits contained in the Plan Supplement, on the
one hand, and the Conﬁrmation Order, on the other hand, the Conﬁrmation Order shall control.

                                ARTICLE II.
               ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and
Priority Tax Claims have not been classiﬁed and, thus, are excluded from the Classes of Claims
and Interests.

A.     Administrative Claims.

       1.      General Administrative Claims.

         Except as speciﬁed in this Article II, unless the Holder of an Allowed General
Administrative Claim and the Debtors or the Reorganized Debtors, as applicable, agree to less
favorable treatment, each Holder of an Allowed General Administrative Claim will receive, in
full satisfaction of its General Administrative Claim, Cash equal to the amount of such Allowed
General Administrative Claim either: (a) on the Eﬀective Date; (b) if the General Administrative
Claim is not Allowed as of the Eﬀective Date, [120] days aer the date on which an order
allowing such General Administrative Claim becomes a Final Order, or as soon thereaer as
reasonably practicable; or (c) if the Allowed General Administrative Claim is based on a liability
incurred by the Debtors in the ordinary course of their business aer the Petition Date, under
the terms and conditions of the particular transaction or agreement giving rise to such Allowed
General Administrative Claim, without any further action by the Holders of such Allowed
General Administrative Claim, and without any further notice to or action, order, or approval of
the Bankruptcy Court. Notwithstanding the foregoing, no request for payment of a General
Administrative Claim need be Filed with respect to a General Administrative Claim previously
Allowed by Final Order.

        Except for Claims of Professionals, requests for payment of General Administrative
Claims that were not accrued in the ordinary course of business must be Filed and served on the
Debtors or the Reorganized Debtors, as applicable, no later than the Administrative Claims Bar
Date applicable to the Debtor against whom the General Administrative Claim is asserted in
accordance with the procedures speciﬁed in the Conﬁrmation Order and the notice of the
Eﬀective Date. Holders of General Administrative Claims that are required to File and serve a
request for payment of such General Administrative Claims by the Administrative Claims Bar
Date that do not File and serve such a request by the Administrative Claims Bar Date shall be
forever barred, estopped, and enjoined from asserting such General Administrative Claims
against the Debtors, the Reorganized Debtors, or their respective property and such General
Administrative Claims shall be deemed forever discharged and released as of the Eﬀective Date.
Any requests for payment of General Administrative Claims that are not properly Filed and
served by the Administrative Claims Bar Date shall not appear on the Claims Register and shall
be disallowed automatically without the need for further action by the Debtors or the
Reorganized Debtors or further order of the Bankruptcy Court. To the extent this Article II.A.1
conﬂicts with Article XII.C of the Plan with respect to fees and expenses payable under section
1930(a) of the Judicial Code, including fees and expenses payable to the U.S. Trustee, Article XII.C
of the Plan shall govern.


                                                20
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 21 of 64




         e Reorganized Debtors, in their sole and absolute discretion, may sele General
Administrative Claims in the ordinary course of business without further Bankruptcy Court
approval. e Debtors may also choose to object to any Administrative Claim no later than [120]
days from the Administrative Claims Bar Date, subject to extensions by the Bankruptcy Court,
agreement in writing of the parties, or on motion of a party in interest approved by the
Bankruptcy Court. Unless the Debtors or the Reorganized Debtors (or other party with standing)
object to a timely ﬁled and properly served Administrative Claim, such Administrative Claim
will be deemed Allowed in the amount requested. If the Debtors or the Reorganized Debtors
object to an Administrative Claim, the parties may confer to try to reach a selement and, failing
that, the Bankruptcy Court will determine whether such Administrative Claim should be allowed
and, if so, in what amount.

       2.      Professional Compensation.

               (a)    Final Fee Applications.

        All ﬁnal requests for payment of Professional Fee Claims, including the Professional Fee
Claims incurred during the period from the Petition Date through the Eﬀective Date, must be
Filed and served on the Reorganized Debtors no later than 60 days aer the Eﬀective Date. All
such ﬁnal requests will be subject to approval by the Bankruptcy Court aer notice and a hearing
in accordance with the procedures established by the Bankruptcy Code and prior orders of the
Bankruptcy Court in the Chapter 11 Cases, including the Interim Compensation Order, and once
approved by the Bankruptcy Court, promptly paid up to its full Allowed amount. Any remaining
unpaid Allowed Professional Fee Claims will be paid directly by the Reorganized Debtors in the
manner prescribed by Article II.A.2(b) of the Plan.

               (b)    Post-Conﬁrmation Date Fees and Expenses.

        Except as otherwise speciﬁcally provided in the Plan, from and aer the Conﬁrmation
Date, the Debtors shall, in the ordinary course of business and without any further notice to or
action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable and documented
legal, professional, or other fees and expenses incurred by the Debtors. Upon the Conﬁrmation
Date, any requirement that Professionals comply with sections 327 through 331 and 1103 of the
Bankruptcy Code in seeking retention or compensation for services rendered aer such date
shall terminate, and the Reorganized Debtors may employ and pay any Professional in the
ordinary course of business without any further notice to or action, order, or approval of the
Bankruptcy Court.

B.     Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim has been paid by the
Debtors before the Eﬀective Date, or the applicable Reorganized Debtors and such Holder agree
to a less favorable treatment, in full and ﬁnal satisfaction, selement, release, and discharge of
and in exchange for each Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax
Claim shall receive, at the option of the Debtors, one of the following treatments: (i) Cash in an
amount equal to the amount of such Allowed Priority Tax Claim within ﬁve (5) Business Days
aer the Eﬀective Date; (ii) Cash in an aggregate amount of such Allowed Priority Tax Claim
payable in regular installments over a period not to exceed ﬁve (5) years aer the Petition Date,


                                                21
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 22 of 64




pursuant to section 1129(a)(9)(C) of the Bankruptcy Code and; or (iii) such other treatment as
may be agreed upon by such Holder and the Debtors or otherwise determined upon an order of
the Bankruptcy Court. e Reorganized Debtors shall have the right, in their sole discretion, to
pay any Holders of Allowed Priority Tax Claims or any remaining balance of an Allowed Priority
Tax Claim (together with accrued but unpaid interest) in full at any time on or aer the Eﬀective
Date without premium or penalty.

C.     Statutory Fees.

        All fees due and payable under section 1930 of Title 28 of the United States Code before
the Eﬀective Date with respect to the Debtors shall be paid by the Debtors. On and aer the
Eﬀective Date, the Reorganized Debtors shall pay any and all such fees when due and payable,
and shall File with the Bankruptcy Court quarterly reports in a form reasonably acceptable to
the U.S. Trustee. Each Debtor shall remain obligated to pay quarterly fees to the U.S. Trustee
until the earliest of that particular Debtor’s case being closed, dismissed, or converted to a case
under Chapter 7 of the Bankruptcy Code.

                               ARTICLE III.
          CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.     Classiﬁcation of Claims and Interests.

        Claims and Interests, except for Administrative Claims and Priority Tax Claims, are
classiﬁed in the Classes set forth in this Article III. A Claim or Interest is classiﬁed in a particular
Class only to the extent that the Claim or Interest qualiﬁes within the description of that Class
and is classiﬁed in other Classes to the extent that any portion of the Claim or Interest qualiﬁes
within the description of such other Classes. A Claim or Interest is also classiﬁed in a particular
Class for the purpose of receiving distributions under the Plan only to the extent that such Claim
or Interest is an Allowed Claim or Allowed Interest in that Class and has not been paid, released,
or otherwise satisﬁed before the Eﬀective Date. e Debtors reserve the right to assert that the
treatment provided to Holders of Claims and Interests under Article III.B of the Plan renders
such Holders Unimpaired.

        e Plan constitutes a separate chapter 11 plan of reorganization for each Debtor, which
shall include the classiﬁcations set forth below. Subject to Article III.D of the Plan, to the extent
that a Class contains Claims or Interests only with respect to one or more particular Debtors,
such Class applies solely to such Debtor.

       e following chart represents the classiﬁcation of Claims and Interests for the Debtors
under the Plan.




                                                  22
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 23 of 64




     Class           Claims and Interests             Status                 Voting Rights
       1        Secured 2012 RBL Facility Claims     Impaired               Entitled to Vote

       2             Other Secured Claims           Unimpaired   Not Entitled to Vote (Deemed to Accept)

       3             Other Priority Claims          Unimpaired   Not Entitled to Vote (Deemed to Accept)

       4          Unsecured 2013 Loan Claims         Impaired               Entitled to Vote

       5           General Unsecured Claims         Unimpaired   Not Entitled to Vote (Deemed to Accept)

       6                   TOG Claims               Unimpaired   Not Entitled to Vote (Deemed to Accept)

       7             Intercompany Claims            Unimpaired   Not Entitled to Vote (Deemed to Accept)
                 Intercompany Interests in the
       8                                            Unimpaired   Not Entitled to Vote (Deemed to Accept)
                           Debtors
       9        Existing Tenrgys Equity Interests    Impaired               Entitled to Vote

B.         Treatment of Claims and Interests.

       To the extent a Class contains Allowed Claims or Allowed Interests with respect to any
Debtor, the classiﬁcation of Allowed Claims and Allowed Interests is speciﬁed below.

           1.        Class 1 – Secured 2012 RBL Facility Claims.

                     (a)     Classiﬁcation: Class 1 consists of Secured 2012 RBL Facility Claims.

                     (b)     Treatment: On the Eﬀective Date, or as soon as reasonably practicable
                             thereaer, except to the extent that the Holder of the Allowed Secured
                             2012 RBL Facility Claims agrees to a less favorable treatment of its
                             Allowed Claim, in full and ﬁnal satisfaction, selement, release, and
                             discharge of and in exchange for the Allowed Secured 2012 RBL Facility
                             Claims, the Debtors shall:

                             (i)     convey, transfer, or otherwise assign all of the Debtors’ right, title,
                                     and interest in and to the Telpico Entities to the Holder of the
                                     Allowed Secured 2012 RBL Facility Claims; or

                             (ii)    alternatively, at the option of the Holder, cause the Telpico Entities
                                     to convey, transfer, or otherwise assign all of the Telpico Entities’
                                     right, title, and interest in and to and the Colombian Assets to the
                                     Holder of the Allowed Secured 2012 RBL Facility Claims.

                     (c)     Voting: Class 1 is Impaired under the Plan. Holders of Claims in Class 1 are
                             entitled to vote to accept or reject the Plan.

           2.        Class 2 – Other Secured Claims

                     (a)     Classiﬁcation: Class 2 consists of Other Secured Claims.


                                                        23
21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 24 of 64




          (b)    Treatment: On the Eﬀective Date, or as soon as reasonably practicable
                 thereaer, except to the extent that the Holder of the Allowed Secured
                 Claim agrees to a less favorable treatment of its Allowed Claim, in full and
                 ﬁnal satisfaction, selement, release, and discharge of and in exchange for
                 each Allowed Other Secured Claim, each such Holder shall receive, at the
                 option of the applicable Debtor(s) with the consent of the Consenting 2013
                 Loan Lender, either:

                 (i)     Payment in full in cash;

                 (ii)    Delivery of collateral securing any such Claim and payment of any
                         interest required under section 506(b) of the Bankruptcy Code;

                 (iii)   Reinstatement of such Allowed Other Secured Claim; or

                 (iv)    Such other treatment rendering its Allowed Other Secured Claim
                         Unimpaired in accordance with section 1124 of the Bankruptcy
                         Code.

          (c)    Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed Other
                 Secured Claims are conclusively presumed to have accepted the Plan
                 under section 1126() of the Bankruptcy Code. Holders of Allowed Other
                 Secured Claims are not entitled to vote to accept or reject the Plan.

    3.    Class 3 – Other Priority Claims.

          (a)    Classiﬁcation: Class 3 consists of Other Priority Claims.

          (b)    Treatment: On the Eﬀective Date, or as soon as reasonably practicable
                 thereaer, except to the extent that a Holder of an Allowed Other Priority
                 Claim agrees to a less favorable treatment of its Allowed Claim, in full and
                 ﬁnal satisfaction, selement, release, and discharge of and in exchange for
                 each Allowed Other Priority Claim, each such Holder shall receive, at the
                 Debtors’ option, either:

                 (v)     payment in full in Cash; or

                 (vi)    other treatment rendering such Claim Unimpaired.

          (c)    Voting: Class 3 is Unimpaired under the Plan. Holders of Other Priority
                 Claims are conclusively deemed to have accepted the Plan under section
                 1126() of the Bankruptcy Code. erefore, such Holders are not entitled
                 to vote to accept or reject the Plan.

    4.    Class 4 – 2013 Loan Claims.

          1.     Classiﬁcation: Class 4 consists of 2013 Loan Claims.




                                             24
21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 25 of 64




          2.    Treatment: On the Eﬀective Date, except to the extent that the Consenting
                2013 Loan Lender as the Holder of the Allowed 2013 Loan Claims agrees
                to a less favorable treatment of its Allowed Claims, in full and ﬁnal
                satisfaction, selement, release, and discharge of and in exchange for all
                of the Allowed 2013 Loan Claims, the Consenting 2013 Loan Lender shall
                receive:

                (i)     Payment of the sum of Five Hundred ousand Dollars
                        ($500,000.00) in Cash;

                (ii)    New Reorganized Tenrgys Membership Interests equal to ten
                        percent (10.00%) of the equity in the Reorganized Tenrgys; and

                (iii)   e New Secured Term Loan, which shall be a new $40 million
                        ﬂoating rate ﬁrst-lien term loan with market pricing (but with an
                        interest rate of L+650 with a LIBOR ﬂoor of 1% if paid in cash, or
                        L+850 with a LIBOR ﬂoor of 1% if paid in kind), and other market
                        terms to be agreed and set forth in the New Secured Term Loan
                        Documents, consistent with the RSA, as and with such other terms
                        as are in form and substance acceptable to the Consenting 2013
                        Loan Lender, and as set forth herein, including:

                        •   Facility Type: First-lien term loan

                        •   Term: Four (4) years

                        •   Amortization: 10% annually, remaining principal due at
                            maturity

                        •   Collateral: First lien on and security interest in all assets,
                            including for the avoidance of doubt any equity interests of
                            Reorganized Tenrgys and its subsidiaries, and accounts of
                            Reorganized Tenrgys and its subsidiaries, including all oil and
                            gas leases, midstream assets, and related infrastructure

                        •   Prepayment: No Call -year 1; 101 -year 2; par thereaer

                        •   Permitted Indebtedness: No additional permied debt at
                            Issuer other than the Exit Facility and a $10 million super
                            priority 1st Lien facility allowed for purposes of equally and
                            ratably secured hedging transactions, the posting of leers of
                            credit, and working capital needs

                        •   Other Terms: Other conditions to closing, reps and
                            warranties, events of default, aﬃrmative and negative
                            covenants, and other terms that are usual, customary, and




                                         25
21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 26 of 64




                            appropriate for transactions of this nature, including ﬁnancial
                            covenants

          3.     Voting: Class 4 is Impaired under the Plan. Holders of Claims in Class 3 are
                 entitled to vote to accept or reject the Plan.

    5.    Class 5 – General Unsecured Claims.

          (a)    Classiﬁcation: Class 5 consists of General Unsecured Claims.

          (d)    Treatment: On the Eﬀective Date or the date that is ten (10) Business Days
                 aer the date on which such General Unsecured Claim becomes an
                 Allowed General Unsecured Claim, whichever is later, in each case, or as
                 soon as reasonably practicable thereaer, except to the extent that a
                 Holder of an Allowed General Unsecured Claim agrees to a less favorable
                 treatment of its Allowed Claim, in full and ﬁnal satisfaction, selement,
                 release, and discharge of and in exchange for each Allowed General
                 Unsecured Claim, each such Holder shall receive, at the Debtors’ option,
                 either:

                 (i)     payment in full in Cash;

                 (ii)    Reinstatement of such Claim; or

                 (iii)   other treatment rendering such Claim Unimpaired.

          (b)    Voting: Class 5 is Unimpaired under the Plan. Holders of General
                 Unsecured Claims are conclusively deemed to have accepted the Plan
                 under section 1126() of the Bankruptcy Code. erefore, such Holders are
                 not entitled to vote to accept or reject the Plan.

    6.    Class 6 – TOG Claims.

          (a)    Classiﬁcation: Class 6 consists of TOG Claims.

          (b)    Treatment: On the Eﬀective Date, or as soon as reasonably practicable
                 thereaer, except to the extent that TOG agrees to a less favorable
                 treatment of its Allowed TOG Claim, in full and ﬁnal satisfaction,
                 selement, release, and discharge of and in exchange for each Allowed
                 TOG Claim, TOG shall be, at the Debtors’ option subject to the consent of
                 the Consenting 2013 Loan Lender, either Reinstated, adjusted or
                 discharged.

          (c)    Voting: Class 6 is Unimpaired under the Plan. TOG is conclusively deemed
                 to have accepted the Plan under section 1126() of the Bankruptcy Code.
                 erefore, TOG is not entitled to vote to accept or reject the Plan.




                                          26
21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 27 of 64




    7.    Class 7 – Intercompany Claims.

          (a)    Classiﬁcation: Class 7 consists of Intercompany Claims.

          (d)    Treatment: On the Eﬀective Date, or as soon as reasonably practicable
                 thereaer, except to the extent that a Holder of an Allowed Intercompany
                 Claim agrees to a less favorable treatment of its Allowed Claim, in full and
                 ﬁnal satisfaction, selement, release, and discharge of and in exchange for
                 each Allowed Intercompany Claim, each such Holder shall receive, at the
                 Debtors’ option, either:

                 (i)     payment in full in Cash;

                 (ii)    Reinstatement of such Claim; or

                 (iii)   other treatment rendering such Claim Unimpaired.

          (e)    Voting: Class 7 is Unimpaired under the Plan. Holders of Intercompany
                 Claims are conclusively deemed to have accepted the Plan under section
                 1126() of the Bankruptcy Code. erefore, such Holders are not entitled
                 to vote to accept or reject the Plan.

    8.    Class 8 – Intercompany Interests in the Debtors.

          (a)    Classiﬁcation: Class 8 consists of Intercompany Interests.

          (b)    Treatment: is Plan leaves unaltered the legal, equitable, and contractual
                 rights to which an Intercompany Interest entitles the Holder of such
                 Interest.

          (c)    Voting: Class 8 is Unimpaired under the Plan. Holders of Intercompany
                 Interests are conclusively deemed to have accepted the Plan under section
                 1126() of the Bankruptcy Code. erefore, such Holders are not entitled
                 to vote to accept or reject the Plan.

    9.    Class 9 – Existing Tenrgys Equity Interests.

          (d)    Classiﬁcation: Class 9 consists of all Existing Tenrgys Equity Interests.

          (e)    Treatment: On the Eﬀective Date, each Holder of an Allowed Existing
                 Tenrgys Equity Interest on account of such Interest shall receive or retain
                 such Holder’s Pro Rata share of 100% of the Reorganized Equity Interests,
                 subject to dilution by the Reorganized Equity Interests to be received by
                 the Holder of the 2013 Loan Claim.

          4.     Voting: Class 9 is Impaired under the Plan. Holders of Claims in Class 9 are
                 entitled to vote to accept or reject the Plan.




                                           27
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 28 of 64




C.     Special Provision Governing Unimpaired Claims.

        Except as otherwise provided in the Plan, nothing under the Plan shall aﬀect the Debtors’
rights in respect of any Unimpaired Claims, including all rights in respect of legal and equitable
defenses to or setoﬀs or recoupments against any such Unimpaired Claims.

D.     Elimination of Vacant Classes.

       Any Class of Claims or Interests that, as of the commencement of the Conﬁrmation
Hearing, does not have at least one Holder of a Claim or Interest that is Allowed in an amount
greater than zero for voting purposes under the Disclosure Statement Order shall be considered
vacant, deemed eliminated from the Plan for purposes of voting to accept or reject the Plan, and
disregarded for purposes of determining whether the Plan satisﬁes section 1129(a)(8) of the
Bankruptcy Code with respect to that Class.

E.     Conﬁrmation Under Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

        Section 1129(a)(10) of the Bankruptcy Code shall be satisﬁed for purposes of
Conﬁrmation by acceptance of the Plan by one or more of the Classes entitled to vote under
Article III.B of the Plan. e Debtors shall seek Conﬁrmation of the Plan under section 1129(b)
of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests. e Debtors
reserve the right to modify the Plan in accordance with Article X hereof to the extent, if any,
that Conﬁrmation under section 1129(b) of the Bankruptcy Code requires modiﬁcation,
including by modifying the treatment applicable to a Class of Claims to render such Class of
Claims Unimpaired to the extent permied by the Bankruptcy Code and the Bankruptcy Rules
or to withdraw the Plan as to such Debtor.

F.     Voting Classes; Presumed Acceptance by Non-Voting Classes

       If a Class contains Holders of Claims or Interests eligible to vote and no Holders of Claims
or Interests eligible to vote in such Class vote to accept or reject the Plan, the Plan shall be
presumed accepted by the Holders of such Claims or Interests in such Class.

G.     Presumed Acceptance and Rejection of the Plan

        To the extent that Claims of any class are canceled, each Holder of a Claim in such class
is deemed to have rejected the Plan under section 1126(g) of the Bankruptcy Code and is not
entitled to vote to accept or reject the Plan. To the extent that Claims or Interests of any Class
are Reinstated, each Holder of a Claim or Interest in such Class is presumed to have accepted the
Plan under section 1126() of the Bankruptcy Code and is not entitled to vote to accept or reject
the Plan.

H.     Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or
Interests, are Impaired, the Bankruptcy Court shall, aer notice and a hearing, determine such
controversy on or before the Conﬁrmation Date.



                                                28
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 29 of 64




I.     Subordinated Claims and Interests.

        e allowance, classiﬁcation, and treatment of all Allowed Claims and Allowed Interests
and the respective distributions and treatments under the Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Under section 510 of the Bankruptcy Code, the Debtors or Reorganized Debtors
reserve the right to re-classify any Allowed Claim in accordance with any contractual, legal, or
equitable subordination relating thereto. Notwithstanding anything in this Plan to the contrary,
the 2013 Loan Claims shall not be subordinated in any manner or for any reason.

                                  ARTICLE IV.
                     MEANS FOR IMPLEMENTATION OF THE PLAN

A.     Restructuring Support Agreement

       e RSA shall be assumed pursuant to the Conﬁrmation Order and the Debtors shall
continue to perform thereunder and comply therewith in all respects during the period through
and including the Eﬀective Date.

B.     General Settlement of Claims and Interests

       Unless otherwise set forth in the Plan, pursuant to section 1123 of the Bankruptcy Code
and Bankruptcy Rule 9019, and in consideration for the classiﬁcation, distributions, and other
beneﬁts provided under the Plan, upon the Eﬀective Date, the provisions of the Plan constitute
a good faith compromise and selement of all Claims and Interests and controversies resolved
pursuant to the Plan.

C.     Restructuring Transactions.

        On the Eﬀective Date, the Debtors or the Reorganized Debtors will (as agreed to by the
Consenting 2013 Term Loan Lender and consistent with the terms of the RSA) eﬀectuate the
Restructuring Transactions, and will take any actions as may be necessary or advisable to that
end, including: (a) the execution and delivery of appropriate agreements or other documents of
merger, amalgamation, consolidation, restructuring, conversion, disposition, transfer,
arrangement, continuance, dissolution, sale, purchase, or liquidation containing terms that are
consistent with the terms of the Plan and the RSA and that satisfy the requirements of applicable
law and any other terms to which the applicable Entities may agree, including the formation of
the entity or entities that will comprise the Reorganized Debtors; (b) the execution and delivery
of appropriate instruments of transfer, assignment, assumption, or delegation of any asset,
property, right, liability, debt, or obligation on terms consistent with the terms of the Plan and
having other terms for which the applicable parties agree; (c) the ﬁling of appropriate certiﬁcates
or articles of incorporation, formation, reincorporation, merger, consolidation, conversion,
amalgamation, arrangement, continuance, dissolution, or other organizational documents under
applicable state law; (d) the execution and delivery of the Reorganized Equity Documents, if any;
(e) the execution and delivery of the Exit Facility Documents (including all actions to be taken,
undertakings to be made, obligations to be incurred and fees and expenses to be paid by the


                                                29
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 30 of 64




Debtors and the Reorganized Debtors, as applicable) and the New Secured Term Loan Documents
(including all actions to be taken, undertakings to be made, obligations to be incurred and fees
and expenses to be paid by the Debtors and the Reorganized Debtors, as applicable), subject to
any post-closing execution and delivery periods provided for in the Exit Facility Documents and
the New Secured Term Loan Documents; () the issuance of the New Reorganized Tenrgys
Membership Interests as set forth in the Plan; (g) the assignment of the Telpico equity interests
or the conveyance of the Colombian Assets as set forth in the Plan; and (h) all other actions that
the Debtors and the Consenting 2013 Loan Lender determine to be necessary or advisable,
including making ﬁlings or recordings that may be required by law in connection with the Plan.

        e Conﬁrmation Order shall and shall be deemed to, under sections 1123 and 363 of the
Bankruptcy Code and Bankruptcy Rule 9019, authorize, among other things, all actions as may
be necessary or appropriate to eﬀect any transaction described in, approved by, contemplated
by, or necessary to eﬀectuate the Plan, including the Restructuring Transactions.

D.     Cancellation of Existing Liens and Agreements

        On the Eﬀective Date, except to the extent otherwise provided in the Plan or the
Conﬁrmation Order, all notes, instruments, certiﬁcates, credit agreements, indentures,
mortgages, deeds of trust, security agreements, and other documents evidencing Claims or Liens
shall be cancelled and the obligations of the Debtors thereunder or in any way related thereto
shall be deemed satisﬁed in full, cancelled, discharged, and of no force or eﬀect. Holders of or
parties to such cancelled instruments and other documentation will have no rights arising from
or relating to such instruments and other documentation, or the cancellation thereof, except the
rights provided for pursuant to this Plan. Notwithstanding anything to the contrary herein, to
the extent cancelled pursuant to this paragraph, the 2013 Loan Agreement shall continue in eﬀect
solely to the extent necessary to: (1) permit the Holder of Claims under the 2013 Loan Agreement
to receive their respective Plan Distributions; and (2) permit the Reorganized Debtors to make
Plan Distributions on account of the Allowed Claims under the 2013 Loan Agreement. To the
extent cancelled in accordance with this paragraph, the commitments and obligations (if any) of
the Holder of the 2013 Loan Claims under the 2013 Loan Agreement to extend any further or
future credit or ﬁnancial accommodations to any of the Debtors, any of their respective
subsidiaries or any of their respective successors or assigns under the 2013 Loan Agreement shall
fully terminate and be of no further force or eﬀect on the Eﬀective Date.

E.     Sources of Consideration for Plan Distributions.

        e Debtors shall fund distributions under the Plan with one or more of the following,
subject to appropriate deﬁnitive agreements and documentation: (1) the Exit Facility; (2) the
Colombian Collateral Tender Transaction; (3) the New Secured Term Loan; (4) the New
Reorganized Tenrgys Membership Interests; and (5) encumbered and unencumbered Cash on
hand, including Cash from operations of the Debtors. Each distribution and issuance referred to
in Article VI of the Plan shall be governed by the terms and conditions set forth herein applicable
to such distribution or issuance and by the terms and conditions of the instruments or other
documents evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance. e issuance, distribution, or




                                                30
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 31 of 64




authorization, of the New Reorganized Tenrgys Membership Interests will be exempt from SEC
registration to the fullest extent permied by law, as described more fully in Article VI.D below.

       1.      Exit Facility.

        On the Eﬀective Date, the Reorganized Debtors shall enter into the Exit Facility of up to
$5 million, with members of the Debtors’ management as lender, Reorganized Tenrgys as
borrower, and the other Debtors as guarantors. e Exit Facility shall be on terms mutually
agreed between the Debtors and the Consenting 2013 Loan Lender, and set forth in the Exit
Facility Documents, which shall be in a form and substance acceptable to the Debtors and the
Consenting 2013 Loan Lender. In any event, the Exit Facility will be subordinate to the New
Secured Term Loan.

        Conﬁrmation shall be deemed approval of the Exit Facility (including the transactions
contemplated thereby, and all actions to be taken, undertakings to be made, and obligations to
be incurred and fees and expenses to be paid by the Debtors or the Reorganized Debtors in
connection therewith), to the extent not previously approved by the Bankruptcy Court, and the
Reorganized Debtors shall be authorized to execute and deliver those documents necessary or
appropriate to obtain the Exit Facility, including any and all documents required to enter into
the Exit Facility and all collateral documents related thereto (if any), without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or
vote, consent, authorization, or approval of any Person, subject to such modiﬁcations as the
Reorganized Debtors may deem to be necessary to consummate entry into the Exit Facility and
that are in form and substance reasonably acceptable to the Reorganized Debtors and the
Consenting 2013 Loan Lender.

        On the Eﬀective Date, the Exit Facility Documents shall constitute legal, valid, binding,
and authorized obligations of the Reorganized Debtors, enforceable in accordance with their
terms. e ﬁnancial accommodations to be extended under the Exit Facility Documents are being
extended, and shall be deemed to have been extended, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy
Code or any other applicable non-bankruptcy law. On the Eﬀective Date, all of the Liens and
security interests to be granted in accordance with the Exit Facility Documents, if any, (a) shall
be legal, binding, and enforceable Liens on, and security interests in, the collateral granted
thereunder in accordance with the terms of the Exit Facility Documents, (b) shall be deemed
automatically aached and perfected on the Eﬀective Date, subject only to such Liens and
security interests as may be granted in the New Secured Term Loan Documents, or permied
under the Exit Facility Documents, and (c) shall not be subject to avoidance, recharacterization,
or subordination (including equitable subordination) for any purposes whatsoever and shall not
constitute preferential transfers, fraudulent conveyances, or other voidable transfers under the
Bankruptcy Code or any applicable non-bankruptcy law. e Reorganized Debtors and the
lender(s) under the Exit Facility granted such Liens and security interests are authorized to make
all ﬁlings and recordings, and to obtain all governmental approvals and consents necessary to
establish, aach, and perfect such Liens and security interests under the provisions of the
applicable state, provincial, federal, or other law (whether domestic or foreign) that would be


                                                 31
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 32 of 64




applicable in the absence of the Plan and the Conﬁrmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of the Conﬁrmation Order, and any
such ﬁlings, recordings, approvals, and consents shall not be required), and will thereaer
cooperate to make all other ﬁlings and recordings that otherwise would be necessary or desirable
by the administrative agent under the Exit Facility under applicable law to give notice of such
Liens and security interests to third parties.

       2.      Colombian Collateral Tender Transaction.

        Reorganized Tenrgys shall be authorized to cause Reorganized Tellus Energy to assign,
convey, or otherwise transfer all of the membership interests in Telpico, LLC to PanAm under
Article III.B of the Plan, in accordance with the Reorganized Equity Documents.

       Alternatively, at PanAm’s election, the Reorganized Debtors shall be authorized to cause
Telpico, LLC to assign, convey, or otherwise transfer substantially all of its assets to PanAm
under Article III.B of the Plan.

       3.      New Secured Term Loan.

       On the Eﬀective Date, the Reorganized Debtors shall issue the New Secured Term Loan
to the Consenting 2013 Loan Lender on the terms set forth in the New Secured Term Loan
Documents.

        Conﬁrmation of the Plan shall be deemed (a) approval of the New Secured Term Loan
and all transactions contemplated hereby and thereby, and all actions to be taken, undertakings
to be made, and obligations to be incurred by the Reorganized Debtors in connection therewith,
including the payment of all fees, expenses, losses, damages, indemnities and other amounts
provided for by the New Secured Term Loan Documents, and (b) authorization for the
Reorganized Debtors to enter into and perform under the New Secured Term Loan Documents.

        On the Eﬀective Date, the New Secured Term Loan Documents shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance
with their terms. e ﬁnancial accommodations to be extended under the New Secured Term
Loan Documents are being extended, and shall be deemed to have been extended, in good faith,
for legitimate business purposes, are reasonable, shall not be subject to avoidance,
recharacterization, or subordination (including equitable subordination) for any purposes
whatsoever, and shall not constitute preferential transfers, fraudulent conveyances, or other
voidable transfers under the Bankruptcy Code or any other applicable non-bankruptcy law. On
the Eﬀective Date, all of the Liens and security interests to be granted in accordance with the
New Secured Term Loan Documents (a) shall be deemed to be approved; (b) shall be legal,
binding, and enforceable Liens on, and security interests in, the collateral granted thereunder in
accordance with the terms of the New Secured Term Loan Documents, (c) shall be deemed
automatically aached and perfected on the Eﬀective Date, subject only to such Liens and
security interests as may be permied under the New Secured Term Loan Documents, and (d)
shall not be subject to avoidance, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers,
fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any
applicable non-bankruptcy law. e Reorganized Debtors and the Consenting 2013 Loan Lender


                                               32
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 33 of 64




are authorized to make all ﬁlings and recordings, and to obtain all governmental approvals and
consents necessary to establish, aach, and perfect such Liens and security interests under the
provisions of the applicable state, provincial, federal, or other law (whether domestic or foreign)
that would be applicable in the absence of the Plan and the Conﬁrmation Order (it being
understood that perfection of the Liens and security interests granted under the New Secured
Term Loan Documents shall occur automatically by virtue of the entry of the Conﬁrmation Order
and funding on or aer the Eﬀective Date, and any such ﬁlings, recordings, approvals, and
consents shall not be required), and will thereaer cooperate to make all other ﬁlings and
recordings that otherwise would be necessary under applicable law to give notice of such Liens
and security interests to third parties. To the extent that any Holder of a Secured Claim that has
been satisﬁed or discharged pursuant to the Plan, or any agent for such Holder, has ﬁled or
recorded any Liens and/or security interests to secure such Holder’s Secured Claim, then as soon
as practicable on or aer the Eﬀective Date, such Holder (or the agent for such Holder), at the
Reorganized Debtors’ expense, shall take any and all steps requested by the Debtors, the
Reorganized Debtors or any administrative agent under the New Secured Term Loan Documents
that are necessary to cancel and/or extinguish such Liens and/or security interests (it being
understood that such Liens and security interests held by Holders of Secured Claims that are
satisﬁed on the Eﬀective Date pursuant to the Plan shall be automatically canceled/or
extinguished automatically on the Eﬀective Date by virtue of the entry of the Conﬁrmation
Order).

       4.      New Reorganized Tenrgys Membership Interests.

       Reorganized Tenrgys shall be authorized to issue the New Reorganized Tenrgys
Membership Interests to the Consenting 2013 Loan Lender under Article III.B of the Plan and in
accordance with the Reorganized Equity Documents. All of the New Reorganized Tenrgys
Membership Interests issued under the Plan shall be duly authorized, validly issued, fully paid,
and non-assessable.

F.     Corporate Existence.

        Except as otherwise provided in the Plan, each Debtor shall continue to exist aer the
Eﬀective Date as a separate corporate Entity, limited liability company, partnership, or other
form, as the case may be, with all the powers of a corporation, limited liability company,
partnership, or other form, as the case may be, under the applicable law in the jurisdiction in
which each applicable Debtor is incorporated or formed and under the respective Existing Equity
Documents, except to the extent such Existing Equity Documents are amended under the Plan
or otherwise, and to the extent such documents are amended, such documents are deemed to be
amended under the Plan and require no further action or approval (other than any requisite
ﬁlings required under applicable state or federal law).

G.     Vesting of Assets in the Reorganized Debtors.

       Except as otherwise provided in the Plan, the RSA, or any applicable Deﬁnitive
Document, on the Eﬀective Date, all property in each Estate, all Causes of Action, and any
property acquired by any of the Debtors under the Plan shall vest in each applicable Reorganized
Debtor, free and clear of all Liens, Claims, charges, Interests, or other encumbrances, other than
Liens to be granted under the Plan. Except as otherwise provided in the Plan, on and aer the


                                                33
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 34 of 64




Eﬀective Date, each of the Reorganized Debtors may operate their business and may use, acquire,
or dispose of property and compromise or sele any Claims, Interests, or Causes of Action
without supervision or approval by the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code, Bankruptcy Rules or other restrictions expressly imposed by the Plan, RSA,
Deﬁnitive Documents or Conﬁrmation Order.

H.     Corporate Action.

        On the Eﬀective Date, all actions contemplated under the Plan with respect to the
applicable Debtor or Reorganized Debtor, as applicable, shall be deemed authorized and
approved in all respects, including: (1) implementation of the Restructuring Transactions; (2)
selection of, and the election or appointment (as applicable) of, the directors and oﬃcers for
Reorganized Tenrgys; (3) approval and adoption of (and, as applicable, the execution, delivery,
and ﬁling o) the Reorganized Equity Documents; (4) the execution and delivery of the Exit
Facility Documents and the New Secured Term Loan Documents; (5) the issuance and delivery
of the New Reorganized Tenrgys Membership Interests; and (6) all other actions contemplated
under the Plan (whether to occur before, on, or aer the Eﬀective Date). All maers provided for
herein involving the corporate structure of the Debtors or the Reorganized Debtors, as
applicable, and any corporate action, authorization, or approval that would otherwise be
required by the Debtors or the Reorganized Debtors in connection with the Plan shall be deemed
to have occurred or to have been obtained and shall be in eﬀect as of the Eﬀective Date, without
any requirement of further action, authorization, or approval by the Bankruptcy Court, security
holders, directors, managers, or oﬃcers of the Debtors or the Reorganized Debtors or any other
person.

        On or before the Eﬀective Date, the appropriate oﬃcers of the Debtors and the
Reorganized Debtors shall be authorized and, as applicable, directed to issue, execute, and deliver
the agreements, documents, securities, and instruments, and take such actions, contemplated
under the Plan (or necessary or desirable to eﬀect the transactions contemplated under the Plan)
in the name of and on behalf of the Reorganized Debtors, as applicable, including the Exit Facility
Documents, the New Secured Term Loan Documents, the New Reorganized Tenrgys
Membership Interests, and any and all other agreements, documents, securities, and instruments
relating to the foregoing, and all such documents shall be deemed ratiﬁed. e authorizations
and approvals contemplated by this Article IV.H shall be eﬀective notwithstanding any
requirements under non-bankruptcy law.

I.     Reorganized Equity Documents.

       e Existing Governance Documents of the Debtors in eﬀect prior to the Eﬀective Date
shall be (a) Reinstated, or (b) amended or restated and replaced by the Reorganized Equity
Documents on or prior to the Eﬀective Date, subject in each case to such consent rights of the
Consenting 2013 Loan Lender as set forth in the RSA and the Plan. Solely to the extent (a)
required under the Plan, the Bankruptcy Code, or applicable non-bankruptcy law; or (b)
necessary to eﬀectuate the transactions contemplated by the Plan, on or immediately prior to
the Eﬀective Date:

       1.      e Reorganized Debtors shall ﬁle the Reorganized Equity Documents (in a
               manner acceptable to the Consenting 2013 Loan Lender and consistent with the


                                                34
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 35 of 64




              RSA and the Plan) with the applicable Secretary of State and/or other applicable
              authorities in the state of incorporation or formation or otherwise (as the case
              may be) in accordance with the applicable federal laws or state laws of the
              respective state; and

       2.     e Reorganized Equity Documents shall be deemed to be (a) amended, restated
              and replaced or (b) Reinstated, as applicable, pursuant to the Plan and shall require
              no further action or approval (other than any requisite ﬁlings required under
              applicable non-bankruptcy law).

       Aer the Eﬀective Date, the Reorganized Debtors may amend and restate their
Reorganized Equity Documents subject to the consent rights set forth therein, and may ﬁle such
documents as permied by the laws of the respective states without further authorization from
the Bankruptcy Court.

J.     Directors and Oﬃcers of the Reorganized Debtors.

        As of the Eﬀective Date, the terms of the current members of the Board of Directors of
Tenrgys shall expire, and the terms of the directors, and the initial Reorganized Tenrgys Board
shall be constituted and will include:

       Reorganized Tenrgys Manager and Director
       Richard H. Mills, Jr.

       Reorganized Tenrgys Board of Directors
       Robert Roy Ward
       Catherine C. Wohner
       Walter P. Neely
       Hans H. Krause
       James R. McBride
       James “Bobo” Clarke (alternate)

       Manager of Reorganized Debtors (other than Jurassic Seismic Company)
       Richard H. Mills, Jr.

       Reorganized Jurassic Seismic Company Board of Directors
       Richard H. Mills, Jr.
       Mike Pumphrey
       omas E. Woﬀord

       President of Reorganized Jurassic Seismic Company
       Michael Mills

       Aer the Eﬀective Date, the oﬃcers of each of the Reorganized Debtors shall be
appointed in accordance with the respective Reorganized Equity Documents. Under section
1129(a)(5) of the Bankruptcy Code, the Debtors will disclose in the Plan Supplement the identity
and aﬃliations of each person proposed to be an oﬃcer or to serve on the initial board of
directors of any of the Reorganized Debtors. To the extent any such director or oﬃcer of the


                                               35
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 36 of 64




Reorganized Debtors is an “insider” under the Bankruptcy Code, the Debtors also will disclose
the nature of any compensation to be paid to such director or oﬃcer. Each such director and
oﬃcer shall serve from and aer the Eﬀective Date under the terms of the Reorganized Equity
Documents.

K.     Section 1146 Exemption.

        To the fullest extent permied by section 1146 of the Bankruptcy Code, any transfers of
property under, in contemplation of, or in connection with, the Plan, including (1) the
Restructuring Transactions; (2) the Exit Facility; (3) the New Secured Term Loan; (4) the
Colombian Collateral Tender Transaction; (5) the issuance and delivery of the New Reorganized
Tenrgys Membership Interests; (6) the assignment or surrender of any lease or sublease; and (7)
the delivery of any deed or other instrument or transfer order, in furtherance of, or in connection
with the Plan, including any deeds, bills of sale, or assignments executed in connection with any
disposition or transfer of assets contemplated under the Plan, shall not be subject to any
document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax,
stamp act, real estate transfer, mortgage recording tax, or other similar tax, and upon entry of
the Conﬁrmation Order, the appropriate state or local governmental oﬃcials or agents shall
forgo the collection of any such tax or governmental assessment and accept for ﬁling and
recordation any of the foregoing instruments or other documents in connection with such
transfers or property without the payment of any such tax, recordation fee, or governmental
assessment. All ﬁling or recording oﬃcers (or any other Person with authority over any of the
foregoing), wherever located and by whomever appointed, shall comply with the requirements
of section 1146(a) of the Bankruptcy Code, shall forego the collection of any such tax or
governmental assessment, and shall accept for ﬁling and recordation any of the foregoing
instruments or other documents without payment of any such tax or governmental assessment.

L.     SEC Reporting Requirements.

         e Debtors shall comply with all applicable reporting requirements under the Exchange
Act, if any.

M.     Director, Oﬃcer, Manager, and Employee Liability Insurance.

        Aer the Eﬀective Date, the Reorganized Debtors will not terminate or otherwise reduce
the coverage under any directors’ and oﬃcers’ insurance policies (including any “tail policy”) in
eﬀect or purchased as of the Petition Date, and all members, managers, directors, and oﬃcers of
the Debtors who served in such capacity at any time prior to the Eﬀective Date or any other
individuals covered by such insurance policies, will be entitled to the full beneﬁts of any such
policy for the full term of such policy regardless of whether such members, managers, directors,
oﬃcers, or other individuals remain in such positions aer the Eﬀective Date.

N.     Employee Obligations of Treetop Midstream Services, LLC.

       Except as otherwise provided in the Plan or the Plan Supplement, the Reorganized
Treetop Midstream Services, LLC shall honor Treetop Midstream Services, LLC’s wrien
contracts, agreements, policies, programs and plans for, among other things, wages, salaries,
reimbursement obligations, health beneﬁts, insurance beneﬁts, short- and long-term disability


                                                36
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 37 of 64




coverage, and other such employee beneﬁts (including any compensation programs approved by
the Bankruptcy Court); provided, that the consummation of the transactions contemplated herein
shall not constitute a “change in control” with respect to any of the foregoing arrangements. To
the extent that the above-listed contracts, agreements, policies, programs and plans are
executory contracts, under sections 365 and 1123 of the Bankruptcy Code, each of them will be
deemed assumed as of the Eﬀective Date and assigned to the Reorganized Treetop Midstream
Services, LLC.

O.     Eﬀectuating Documents; Further Transactions

       On and aer the Eﬀective Date, the Reorganized Debtors, and their respective oﬃcers
and the Reorganized Tenrgys Board, are authorized to and may issue, execute, deliver, ﬁle, or
record such contracts, Securities, instruments, releases, and other agreements or documents and
take such actions as may be necessary or appropriate to eﬀectuate, implement, and further
evidence the terms and conditions of the Plan and the Securities authorized and/or issued, as
applicable, under the Plan, in the name of and on behalf of the Reorganized Tenrgys without the
need for any approvals, authorization, or consents.

P.     Payment of Fees and Expenses of Certain Creditors

       e Debtors and the Reorganized Debtors, as applicable, shall, on and aer the
Conﬁrmation Date and to the extent invoiced, pay the Consenting 2013 Loan Lender
Restructuring Expenses (whether accrued prepetition or postpetition and to the extent not
otherwise paid prior to or during the Chapter 11 Cases), without the need for application by any
such parties to the Bankruptcy Court, and without notice and a hearing pursuant to section
1129(a)(4) of the Bankruptcy Code or otherwise.

Q.     Preservation of Causes of Action.

        Except as otherwise provided herein, in accordance with section 1123(b) of the
Bankruptcy Code, but subject to Article VIII of the Plan, the Reorganized Debtors shall retain (or
shall receive from the Debtors, as applicable) and may enforce all rights to commence and pursue
any and all Causes of Action belonging to their Estates, whether arising before or aer the
Petition Date, including any actions speciﬁcally enumerated in the Plan Supplement and the
Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to commence,
prosecute, or sele such Causes of Action shall be preserved notwithstanding the occurrence of
the Eﬀective Date, other than the Causes of Action released by the Debtors under the releases
and exculpations contained in the Plan, including in Article VIII.

       e Reorganized Debtors may pursue such Causes of Action, as appropriate, in
accordance with the best interests of the Reorganized Debtors. No Entity may rely on the
absence of a speciﬁc reference in the Plan, the Plan Supplement, or the Disclosure
Statement to any Cause of Action against it as any indication that the Debtors or the
Reorganized Debtors, as applicable, will not pursue any and all available Causes of
Action against it. e Debtors and the Reorganized Debtors expressly reserve all rights
to prosecute any and all Causes of Action against any Entity, except as otherwise
expressly provided in the Plan, including Article VIII hereof. Unless otherwise agreed
upon in writing by the parties to the applicable Cause of Action, all objections to the


                                               37
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 38 of 64




Schedule of Retained Causes of Action must be Filed with the Bankruptcy Court on or
before thirty (30) days aer the Eﬀective Date. Any such objection that is not timely
ﬁled shall be disallowed and forever barred, estopped, and enjoined from assertion
against any Reorganized Debtor, without the need for any objection or responsive
pleading by the Reorganized Debtors or any other party in interest or any further
notice to or action, order, or approval of the Bankruptcy Court. Unless any Causes of
Action against an Entity are expressly waived, relinquished, exculpated, released, compromised,
or seled herein or in a Bankruptcy Court order, the Reorganized Debtors expressly reserve all
Causes of Action, for later adjudication, and, therefore, no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,
equitable, or otherwise), or laches, shall apply to such Causes of Action upon, aer, or as a
consequence of Conﬁrmation or Consummation; provided, however, that in no event shall any
Cause of Action against the Consenting 2013 Loan Lender be preserved.

         e Reorganized Debtors reserve and shall retain the Causes of Action notwithstanding
the rejection of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or
under the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of
Action that a Debtor may hold against any Entity shall vest in the Reorganized Debtors. e
Reorganized Debtors shall have the exclusive right, authority, and discretion to determine and
to initiate, ﬁle, prosecute, enforce, abandon, sele, compromise, release, withdraw, or litigate to
judgment any such Causes of Action and to decline to do any of the foregoing without the
consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

R.     Preservation of Royalty and Working Interests

        Notwithstanding any other provision in the Plan, on and aer the Eﬀective Date, all
Royalty and Working Interests shall be preserved and remain in full force and eﬀect in
accordance with the terms of the granting instruments or other governing documents applicable
to such Royalty and Working Interests, and no Royalty and Working Interests shall be
compromised or discharged by the Plan. For the avoidance of doubt and notwithstanding
anything to the contrary in the preceding sentence, any right to payment arising from a Royalty
and Working Interest, if any, shall be treated as a General Unsecured Claim under this Plan and
shall be subject to any discharge and/or release provided hereunder.

                             ARTICLE V.
        TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.     Assumption and Rejection of Executory Contracts and Unexpired Leases.

       On the Eﬀective Date, except as otherwise provided herein, all Executory Contracts or
Unexpired Leases of the Debtors, not previously assumed or rejected under an order of the
Bankruptcy Court, will be deemed to be Assumed Executory Contracts or Unexpired Leases, in
accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy
Code, other than those Executory Contracts or Unexpired Leases that: (1) previously were
assumed or rejected by the Debtors; (2) are identiﬁed on the Rejected Executory Contract and
Unexpired Lease List; (3) are the subject of a motion to reject Executory Contracts or Unexpired
Leases that is pending on the Conﬁrmation Date; or (4) are subject to a motion to reject an


                                                  38
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 39 of 64




Executory Contract or Unexpired Lease under which the requested eﬀective date of such
rejection is aer the Eﬀective Date; provided, that the Debtors or the Reorganized Debtors, as
applicable, may not assume or reject any Executory Contract or Unexpired Lease without the
prior wrien consent of the Consenting 2013 Loan Lender (which consent shall not be
unreasonably withheld); provided, further, that following the request for consent by the Debtors
or Reorganized Debtors, if the consent of the Consenting 2013 Loan Lender is not obtained or
declined within ﬁve (5) Business Days following wrien request thereof by the Debtors or
Reorganized Debtors, such consent shall be deemed to have been granted by the Consenting
2013 Loan Lender.

        Entry of the Conﬁrmation Order by the Bankruptcy Court shall constitute a court order
approving the assumptions, assumptions and assignments, or rejections of the Executory
Contracts or Unexpired Leases as set forth in the Plan, the Rejected Executory Contract and
Unexpired Lease List, or the Assumed Executory Contract and Unexpired Lease List under
sections 365(a) and 1123 of the Bankruptcy Code. Any motions to assume Executory Contracts
or Unexpired Leases pending on the Eﬀective Date shall be subject to approval by the Bankruptcy
Court on or aer the Eﬀective Date by a Final Order. Each Executory Contract and Unexpired
Lease assumed under this Article V.A or by any order of the Bankruptcy Court, which has not
been assigned to a third party before the Conﬁrmation Date, shall revest in and be fully
enforceable by the Reorganized Debtors in accordance with its terms, except as such terms are
modiﬁed by the Plan or any order of the Bankruptcy Court authorizing and providing for its
assumption under applicable federal law. Notwithstanding anything this Article V.A. to the
contrary, the Reorganized Tenrgys Employment Agreements shall be deemed to be entered into
or assumed and/or assigned to Reorganized Tenrgys on the Eﬀective Date, and Reorganized
Tenrgys shall be responsible for any cure costs arising from or related to the assumption of such
Reorganized Tenrgys Employment Agreements. Notwithstanding anything to the contrary in
the Plan, the Debtors or the Reorganized Debtors, as applicable, reserve the right to alter, amend,
modify, or supplement the Rejected Executory Contract and Unexpired Lease List and the
Assumed Executory Contract and Unexpired Lease List at any time through and including 30
days aer the Eﬀective Date, subject to any consent right of the Consenting 2013 Loan Lender,
as applicable, as set forth in the Plan.

        To the maximum extent permied by law, to the extent that any provision in any
Executory Contract or Unexpired Lease assumed or assumed and assigned pursuant to the Plan
restricts or prevents, or purports to restrict or prevent, or is breached or deemed breached by,
the assumption or assumption and assignment of such Executory Contract or Unexpired Lease
(including any “change of control” or similar provision), then such provision shall be deemed
modiﬁed such that the transactions contemplated by the Plan shall not entitle the non-Debtor
party thereto to terminate such Executory Contract or Unexpired Lease or to exercise any other
default-related rights with respect thereto.

B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases.

        Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
under the Plan or the Conﬁrmation Order, if any, must be Filed within 30 days aer the later of:
(1) the date of entry of an order of the Bankruptcy Court (including the Conﬁrmation Order)


                                                39
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 40 of 64




approving such rejection; and (2) the eﬀective date of such rejection. Any Claims arising from
the rejection of an Executory Contract or Unexpired Lease not Filed within such time
will be automatically disallowed, forever barred from assertion, and shall not be
enforceable against the Debtors, Reorganized Debtors, Reorganized Tenrgys, the
Estates, or their property without the need for any objection by Reorganized Tenrgys
or further notice to, or action, order, or approval of the Bankruptcy Court or any other
Entity, and any Claim arising out of the rejection of the Executory Contract or
Unexpired Lease shall be deemed fully satisﬁed, released, and discharged,
notwithstanding anything in the Schedules or a Proof of Claim to the contrary. All
Allowed Claims arising from the rejection of the Debtors’ Executory Contracts or Unexpired
Leases shall be classiﬁed as General Unsecured Claims against the applicable Debtor and shall
be treated in accordance with the Plan, unless a diﬀerent security or priority is otherwise
asserted in such Proof of Claim and Allowed in accordance with Article VII of the Plan.

C.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

        Any monetary defaults under each Assumed Executory Contract or Unexpired Lease
shall be satisﬁed, under section 365(b)(1) of the Bankruptcy Code, by payment of the default
amount in Cash on the Eﬀective Date, or as soon as reasonably practicable thereaer, subject to
the limitation described below, or on such other terms as the parties to such Executory Contracts
or Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount of
any payments to cure such a default, (2) the ability of the Reorganized Debtors or any assignee
to provide “adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or (3) any
other maer pertaining to assumption, the cure payments required by section 365(b)(1) of the
Bankruptcy Code shall be made following the entry of a Final Order resolving the dispute and
approving the assumption.

        At least fourteen (14) days before the Conﬁrmation Hearing, the Debtors will provide for
notices of proposed assumption and proposed cure amounts to be sent to applicable third parties
and for procedures for objecting thereto and resolution of disputes by the Bankruptcy Court.
Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed
assumption or related cure amount must be Filed, served, and actually received by the Debtors
at least seven (7) days before the Conﬁrmation Hearing. Any counterparty to an Executory
Contract or Unexpired Lease that fails to object timely to the proposed assumption or cure
amount will be deemed to have consented to such assumption or proposed cure amount.

       If the Bankruptcy Court determines that the Allowed Cure Claim with respect to any
Executory Contract or Unexpired Lease is greater than the amount set forth in the applicable
Cure Notice, the Debtors or Reorganized Debtors, as applicable, may add such Executory
Contract or Unexpired Lease to the Schedule of Rejected Executory Contracts and Unexpired
Leases, in which case such Executory Contract or Unexpired Lease will be deemed rejected as
the Eﬀective Date.

        Assumption of any Executory Contract or Unexpired Lease shall result in the full release
and satisfaction of any Claims or defaults, whether monetary or nonmonetary, including defaults
of provisions restricting the change in control or ownership interest composition or other



                                               40
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 41 of 64




bankruptcy-related defaults, arising under any Assumed Executory Contract or Unexpired Lease
at any time before the eﬀective date of assumption. Any Proofs of Claim Filed with respect
to an Assumed Executory Contract or Unexpired Lease shall be deemed disallowed and
expunged, without further notice to or action, order, or approval of the Bankruptcy
Court.

D.     Preexisting Obligations to the Debtors under Executory Contracts and
       Unexpired Leases.

        Rejection of any Executory Contract or Unexpired Lease under the Plan or otherwise
shall not constitute a termination of preexisting obligations owed by the Executory Contract or
Unexpired Lease counterparty or counterparties to the Debtors or the Reorganized Debtors, as
applicable, under such Executory Contracts or Unexpired Leases. In particular, notwithstanding
any non-bankruptcy law to the contrary, the Reorganized Debtors expressly reserve and do not
waive any right to receive, or any continuing obligation of a counterparty to provide, warranties
or continued maintenance obligations with respect to goods previously purchased by the
Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.     Indemniﬁcation Obligations.

        All Indemniﬁcation Obligations will not be discharged or impaired by conﬁrmation of
the Plan. All such Indemniﬁcations Obligations will be assumed by the Debtors under the Plan
(and shall be treated as Executory Contracts being assumed under the Plan, to the extent
applicable) and will continue as obligations of the Reorganized Debtors. Any Claim based on a
Debtor’s obligations thereunder will be an Allowed Claim; provided, however, that the
Reorganized Debtors shall not indemnify oﬃcers, directors, managers, employees, aorneys,
accountants, investment bankers, or other professionals of the Debtors for any Claims or Causes
of Action arising out of or relating to any act or omission that is a criminal act or constitutes
intentional fraud, gross negligence, or willful misconduct.

        For the avoidance of doubt, the Plan, the Conﬁrmation Order, and the Reorganized Equity
Documents (in the event the Reorganized Equity Documents amend or restate the existing equity
documents of any Debtor) will provide that the Consenting 2013 Loan Lender (including in its
capacity as a holder of the New Secured Term Loan or the equity of any Reorganized Debtor)
shall have no liability for any Indemniﬁcation Obligations.

F.     Insurance Policies.

        Each of the Debtors’ Insurance Policies is treated as an Executory Contract under the
Plan. Unless otherwise provided in the Plan, on the Eﬀective Date, the Debtors shall be deemed
to have assumed all insurance policies and any agreements, documents, and instruments relating
to coverage of all insured Claims, such Insurance Policies shall not be impaired in any way by
the Plan or Conﬁrmation Order, but rather will remain valid and enforceable in accordance with
their terms, and such Insurance Policies and any agreements, documents or instruments relating
thereto shall revest in the Reorganized Debtors.




                                               41
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 42 of 64




G.     Modiﬁcations, Amendments, Supplements, Restatements, or Other
       Agreements.

        Unless otherwise provided in the Plan or the Conﬁrmation Order, each Executory
Contract or Unexpired Lease that is assumed shall include all modiﬁcations, amendments,
supplements, restatements, or other agreements that in any manner aﬀect such Executory
Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases related thereto,
if any, including all easements, licenses, permits, rights, privileges, immunities, options, rights
of ﬁrst refusal, and any other interests, unless any of the foregoing agreements have been
previously rejected or repudiated or is rejected or repudiated under the Plan.

        Unless otherwise provided herein or in the applicable Executory Contract or Unexpired
Lease (as may have been amended, modiﬁed, supplemented, or restated), modiﬁcations,
amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed
to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the validity,
priority, or amount of any Claims that may arise in connection therewith.

H.     Reservation of Rights.

        Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
Rejected Executory Contract and Unexpired Lease List, nor anything contained in the Plan, shall
constitute an admission by the Debtors that any such contract or lease is in fact an Executory
Contract or Unexpired Lease or that any of the Reorganized Debtors has any liability thereunder.
If there is a dispute regarding whether a contract or lease is or was executory or unexpired at
the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall
have thirty (30) days following entry of a Final Order resolving such dispute to alter its treatment
of such contract or lease.

I.     Nonoccurrence of Eﬀective Date.

       In the event that the Eﬀective Date does not occur with respect to a Debtor, the
Bankruptcy Court shall retain jurisdiction with respect to any request to extend the deadline for
assuming or rejecting Unexpired Leases with respect to such Debtor under section 365(d)(4) of
the Bankruptcy Code, unless such deadline(s) have expired.

J.     Contracts and Leases Entered Into Aer the Petition Date.

       Contracts and leases entered into aer the Petition Date by any Debtor, including any
Assumed Executory Contracts or Unexpired Leases, will be performed by the applicable Debtor
or the applicable Reorganized Debtor liable thereunder in the ordinary course of its business.
Accordingly, any such contracts and leases (including any Assumed Executory Contracts or
Unexpired Leases) that have not been rejected as of the date of the Conﬁrmation Date shall
survive and remain unaﬀected by entry of the Conﬁrmation Order.




                                                42
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 43 of 64




                                   ARTICLE VI.
                       PROVISIONS GOVERNING DISTRIBUTIONS

A.     Timing and Calculation of Amounts to Be Distributed.

       Unless otherwise provided in the Plan, on the Eﬀective Date (or if a Claim is not an
Allowed Claim on the Eﬀective Date, on the date that is ten (10) Business Days aer the date on
which such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereaer),
each Holder of an Allowed Claim shall receive the full amount of the distributions that the Plan
provides for Allowed Claims in the applicable Class, unless the Debtors elect to Reinstate such
Allowed Claim. In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on the next succeeding Business Day, but shall be
deemed to have been completed as of the required date. If and to the extent that there are
Disputed Claims, distributions on account of any such Disputed Claims shall be made in
accordance with this paragraph only when and to the extent such Disputed Claims become
Allowed Claims.

B.     Delivery of Distributions and Undeliverable or Unclaimed Distributions.

       1.     Record Date for Distribution.

       On the Distribution Record Date, the Claims Register shall be closed and the Reorganized
Debtors shall be authorized and entitled to recognize only those record Holders listed on the
Claims Register as of the close of business on the Distribution Record Date.

       2.     Delivery of Distributions.

       Except as otherwise provided herein, the Reorganized Debtors shall make distributions
to Holders of Allowed Claims as of the Distribution Record Date at the address for each such
Holder as indicated on the Debtors’ records as of the date of any such distribution. e manner
of such distributions shall be determined at the discretion of the Reorganized Debtors, and the
address for each Holder of an Allowed Claim shall be deemed to be the address set forth in any
Proof of Claim Filed by that Holder.

       3.     Undeliverable Distributions and Unclaimed Property.

        In the event that any distribution to any Holder is returned as undeliverable, no
distribution to such Holder shall be made unless and until the Reorganized Debtors have
determined the then-current address of such Holder, at which time such distribution shall be
made to such Holder without interest; provided, however, that such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six (6)
months from the Eﬀective Date. Aer such date, all unclaimed property or interests in property
shall revert to the applicable Reorganized Debtor(s) automatically and without need for a further
order by the Bankruptcy Court (notwithstanding any applicable federal or state escheat,
abandoned, or unclaimed property laws to the contrary), and any claim of any Holder to such
property shall be fully discharged, released, and forever barred.



                                               43
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 44 of 64




C.     Manner of Payment.

        Unless as otherwise set forth herein, all distributions of Cash, the New Reorganized
Tenrgys Membership Interests, the New Secured Term Loan, and the Telpico membership
interests, as and to the extent applicable, to the Holders of Allowed Claims under the Plan shall
be made by the Reorganized Debtors. In the event PanAm elects to receive the Colombian Assets
in lieu of the Telpico membership interests, the Reorganized Debtors shall cause Telpico to make
such distributions. At the option of the Reorganized Debtors, any Cash payment to be made
under the Plan may be made by check or wire transfer or as otherwise required or provided in
applicable agreements.

D.     SEC Exemption.

        e New Reorganized Tenrgys Membership Interests and the Telpico membership
interests may be “securities,” as deﬁned in Section 2(a)(1) of the Securities Act, section 101 of the
Bankruptcy Code, and applicable state securities laws. e issuance of New Reorganized Tenrgys
Membership Interests under the Plan and the assignment of Telpico membership interests under
the Plan are eﬀectuated in reliance upon section 1145 of the Bankruptcy Code.

E.     Compliance with Tax Requirements.

        In connection with the Plan, as applicable, the Debtors and the Reorganized Debtors shall
comply with all tax withholding and reporting requirements imposed on them by any
Governmental Unit with respect to distributions under the Plan. Notwithstanding any provision
herein to the contrary, the Debtors and the Reorganized Debtors shall be authorized to take all
actions necessary to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate suﬃcient funds
to pay applicable withholding taxes, withholding distributions pending receipt of information
necessary to facilitate such distributions, and establishing any other mechanisms they believe
are reasonable and appropriate to comply with such requirements. e Debtors and the
Reorganized Debtors reserve the right to allocate all distributions made under the Plan in
compliance with all applicable wage garnishments, alimony, child support, and other spousal
awards, liens, and encumbrances.

F.     No Postpetition or Default Interest on Claims.

        Unless otherwise speciﬁcally provided for in the Plan or the Conﬁrmation Order, and
notwithstanding any documents that govern the Debtors’ prepetition funded indebtedness to the
contrary, (a) postpetition and/or default interest shall not accrue or be paid on any Claims, and
(b) no Holder of a Claim shall be entitled to: (i) interest accruing on or aer the Petition Date on
any such Claim; or (ii) interest at the contract default rate, as applicable; provided, however, for
the avoidance of doubt, this romanee (ii) does not apply to the 2013 Loan Claims.

G.     Setoﬀs and Recoupment.

      Unless otherwise provided for in the Plan or the Conﬁrmation Order, the Debtors and
Reorganized Debtors, as applicable, may, but shall not be required to, setoﬀ against or recoup
any payments or distributions to be made under the Plan in respect of any Claims, rights and


                                                 44
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 45 of 64




Causes of Action of any nature whatsoever that the Debtors or the Reorganized Debtors may
have against the claimant, but neither the failure to do so nor the allowance of any Claim
hereunder shall constitute a waiver or release by the Debtors or the Reorganized Debtors of any
such claim it may have against the Holder of such Claim.

H.     No Double Payment of Claims.

        To the extent that a Claim is Allowed against more than one Debtor’s Estate, there shall
be only a single recovery on account of that Allowed Claim, but the Holder of an Allowed Claim
against more than one Debtor may recover distributions from all co-obligor Debtors’ Estates
until the Holder has received payment in full on the Allowed Claims. No Holder of an Allowed
Claim shall be entitled to receive more than payment in full of its Allowed Claim, and each Claim
shall be administered and treated in the manner provided by the Plan only until payment in full
on that Allowed Claim.

I.     Claims Paid or Payable by ird Parties.

       1.      Claims Paid by ird Parties.

        e Debtors or the Reorganized Debtors, as applicable, shall reduce a Claim, and such
Claim shall be disallowed without a Claims objection having to be Filed and without any further
notice to or action, order, or approval of the Bankruptcy Court, to the extent that the Holder of
such Claim receives payment on account of such Claim from a party that is not a Debtor or a
Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent a Holder of a
Claim receives a distribution on account of such Claim and receives payment from a party that
is not a Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within
fourteen (14) days of receipt thereof, repay or return the distribution to the applicable
Reorganized Debtor, to the extent the Holder’s total recovery on account of such Claim from the
third party and under the Plan exceeds the amount of such Claim as of the date of any such
distribution under the Plan. e failure of such Holder to timely repay or return such distribution
shall result in the Holder owing the applicable Reorganized Debtor annualized interest at the
Federal Judgment Rate on such amount owed for each Business Day aer the 14-day period
speciﬁed above until the amount is repaid.

       2.      Claims Payable by ird Parties.

         Except as otherwise provided under the Plan, (i) no distributions under the Plan shall be
made on account of an Allowed Claim that is payable under one of the Debtors’ insurance
policies until the Holder of such Allowed Claim has exhausted all remedies with respect to such
insurance policy, and (ii) to the extent that one or more of the Debtors’ insurers agrees to satisfy
in full or in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction),
then immediately upon such insurers’ agreement, the applicable portion of such Claim may be
expunged without a Claims objection having to be Filed and without any further notice to or
action, order, or approval of the Bankruptcy Court.




                                                45
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 46 of 64




       3.      Applicability of Insurance Policies.

        Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims
shall be in accordance with the provisions of any applicable insurance policy. Nothing contained
in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or
any Entity may hold against any other Entity, including insurers under any policies of insurance,
nor shall anything contained herein (a) constitute or be deemed a waiver by such insurers of any
rights or defenses, including coverage defenses, held by such insurers, or (b) establish, determine,
or otherwise imply any liability or obligation, including any coverage obligation, of any insurer.

J.     Allocation of Distributions Between Principal and Interest.

        To the extent that any Allowed Claim entitled to a distribution under the Plan is
comprised of indebtedness and accrued but unpaid interest thereon, such distribution shall be
allocated to the principal amount (as determined for U.S. federal income tax purposes) of the
Claim ﬁrst, and then to accrued but unpaid interest, subject in the case of the 2013 Loan Claims,
the consent of the Consenting 2013 Loan Lender.

                                  ARTICLE VII.
                     PROCEDURES FOR RESOLVING CONTINGENT,
                       UNLIQUIDATED, AND DISPUTED CLAIMS

A.     Allowance of Claims.

        Except as otherwise set forth in the Plan, aer the Eﬀective Date, each of the Reorganized
Debtors shall have and retain any and all rights and defenses such Debtor had with respect to
any Claim immediately before the Eﬀective Date. Except as speciﬁcally provided in the Plan or
in any order entered in the Chapter 11 Cases before the Eﬀective Date (including the
Conﬁrmation Order), no Claim shall become an Allowed Claim unless and until such Claim is
deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered
a Final Order, including the Conﬁrmation Order (when it becomes a Final Order), in the Chapter
11 Cases allowing such claim. e Debtors may, but are not required to, aﬃrmatively determine
to deem Unimpaired Claims Allowed to the same extent such Claims would be allowed under
applicable non-bankruptcy law.

B.     Claims Administration Responsibilities.

        Except as otherwise speciﬁcally provided in the Plan, aer the Eﬀective Date, the
applicable Reorganized Debtor(s) shall have the sole authority: (1) to File, withdraw, or litigate
to judgment, objections to Claims; (2) to sele or compromise any Disputed Claim without any
further notice to or action, order, or approval by the Bankruptcy Court; and (3) to administer and
adjust the Claims Register to reﬂect any such selements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt,
except as otherwise provided in the Plan, from and aer the Eﬀective Date, each Reorganized
Debtor shall have and retain any and all rights and defenses such Debtor had immediately prior
to the Eﬀective Date with respect to any Disputed Claim or Interest, including the Causes of
Action retained pursuant to Article IV.Q of the Plan.



                                                46
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 47 of 64




C.     Estimation of Claims or Interests.

        Before or aer the Eﬀective Date, the Debtors or the Reorganized Debtors, as applicable,
may (but are not required to) at any time request that the Bankruptcy Court estimate any
Disputed Claim or Interest that is contingent or unliquidated under section 502(c) of the
Bankruptcy Code for any reason, regardless of whether any party previously has objected to
such Claim or Interest or whether the Bankruptcy Court has ruled on any such objection, and
the Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest, including
during the litigation of any objection to any Claim or Interest or during the appeal relating to
such objection. Notwithstanding any provision otherwise in the Plan, a Claim that has been
expunged from the Claims Register, but that either is subject to appeal or has not been the subject
of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by the
Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or
unliquidated Claim or Interest, that estimated amount shall constitute a maximum limitation on
such Claim or Interest for all purposes under the Plan (including for purposes of distributions),
and the relevant Reorganized Debtor may elect to pursue any supplemental proceedings to object
to any ultimate distribution on such Claim.

        Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any Holder of
a Claim that has been estimated under section 502(c) of the Bankruptcy Code or otherwise be
entitled to seek reconsideration of such estimation unless such Holder has Filed a motion
requesting the right to seek such reconsideration on or before seven (7) days aer the date on
which such Claim is estimated. Each of the foregoing Claims and objection, estimation, and
resolution procedures are cumulative and not exclusive of one another. Claims may be estimated
and subsequently compromised, seled, withdrawn, or resolved by any mechanism approved by
the Bankruptcy Court.

D.     Adjustment to Claims or Interests without Objection.

        Any Claim or Interest that has been paid or satisﬁed, or any Claim or Interest that has
been amended or superseded, may be adjusted or expunged on the Claims Register by the
Reorganized Debtors without a Claims objection having to be Filed and without any further
notice to or action, order, or approval of the Bankruptcy Court.

E.     Time to File Objections to Claims or Interests.

       Any objections to Claims or Interests shall be Filed on or before the Claims Objection
Deadline.

F.     Disallowance of Claims.

        Any Claims held by Entities from which the Bankruptcy Court has determined that
property is recoverable under section 542, 543, 550, or 553 of the Bankruptcy Code or that is a
transferee of a transfer that the Bankruptcy Court has determined is avoidable under section
522(), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, shall be deemed
disallowed under section 502(d) of the Bankruptcy Code, and Holders of such Claims may not
receive any distributions on account of such Claims until such time as such Causes of Action
against that Entity have been seled or a Bankruptcy Court order with respect thereto has been


                                                47
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 48 of 64




entered and the full amount of such obligation to the Debtors has been paid or turned over in
full. All Proofs of Claim Filed on account of an Indemniﬁcation Obligation shall be deemed
satisﬁed and expunged from the Claims Register as of the Eﬀective Date to the extent such
Indemniﬁcation Obligation is assumed (or honored or reaﬃrmed, as the case may be) under the
Plan, without any further notice to or action, order, or approval of the Bankruptcy Court.

Except as provided herein or otherwise agreed, any and all Proofs of Claim Filed aer
the Bar Date shall be deemed disallowed and expunged as of the Eﬀective Date without
any further notice to or action, order, or approval of the Bankruptcy Court, and Holders
of such Claims may not receive any distributions on account of such Claims, unless on
or before the Conﬁrmation Hearing such late Claim has been deemed timely Filed by
a Final Order.

G.     Amendments to Proofs of Claim.

       On or aer the Eﬀective Date, a Proof of Claim may not be Filed or amended without the
prior authorization of the Bankruptcy Court or the Reorganized Debtors, and any such new or
amended Proof of Claim Filed that is not so authorized before it is Filed shall be deemed
disallowed in full and expunged without any further action.

H.     No Distributions Pending Allowance.

        Except as otherwise set forth herein, if an objection to a Claim or Interest or portion
thereof is Filed as set forth in Article VII.A and Article VII.B of the Plan, no payment or
distribution provided under the Plan shall be made on account of such Claim or Interest unless
and until such Disputed Claim or Interest becomes an Allowed Claim or Interest.

I.     Distributions Aer Allowance.

        To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or
Interest, distributions (if any) shall be made to the Holder of such Allowed Claim or Interest in
accordance with the provisions of Article VII.A. As soon as reasonably practicable aer the
date that the order or judgment of the Bankruptcy Court allowing any Disputed Claim or
Interest becomes a Final Order, the Disbursing Agent shall provide to the Holder of such Claim
or Interest the distribution (if any) to which such Holder is entitled under the Plan as of the
Eﬀective Date, without any interest to be paid on account of such Claim or Interest.

J.     No Interest.

       Interest shall not accrue or be paid on any Disputed Claim with respect to the period
from the Eﬀective Date to the date a ﬁnal distribution is made on account of such Disputed
Claim, if and when such Disputed Claim becomes an Allowed Claim.




                                               48
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 49 of 64




                               ARTICLE VIII.
         SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.     Compromise and Settlement of Claims, Interests, and Controversies

        e Plan shall constitute a good-faith compromise and selement of all Claims, Interests,
and controversies relating to the contractual, legal, and subordination rights that a Holder of a
Claim or Interest may have with respect to any Allowed Claim or Interest, or any distribution to
be made on account of such Allowed Claim or Interest. e entry of the Conﬁrmation Order
shall constitute the Bankruptcy Court’s approval of the compromise or selement of all such
Claims, Interests, and controversies, as well as a ﬁnding by the Bankruptcy Court that such
compromise or selement is in the best interests of the Debtors, their Estates, and Holders of
Claims and Interests and is fair, equitable, and reasonable. In accordance with the provisions of
the Plan, under Bankruptcy Rule 9019, without any further notice to or action, order, or approval
of the Court, aer the Eﬀective Date, Reorganized Tenrgys (or any other party, as determined by
the Debtors) may compromise and sele Claims against, and Interests in, the Debtors and their
Estates and Causes of Action against other Entities. e compromises, selements, and releases
described herein shall be deemed nonseverable from each other and from all other terms of the
Plan.

B.     Discharge of Claims.

        Under section 1141(d) of the Bankruptcy Code, and except as otherwise speciﬁcally
provided in the Deﬁnitive Documents, the Plan, or in any contract, instrument, or other
agreement or document created or entered into pursuant to the Plan, the distributions, rights,
and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and
release, eﬀective as of the Eﬀective Date, of Claims (including any Intercompany Claims resolved
or compromised aer the Eﬀective Date by the Reorganized Debtors), Interests, and Causes of
Action of any nature whatsoever, including any interest accrued on Claims or Interests from and
aer the Petition Date, whether known or unknown, against, liabilities of, Liens on, obligations
of, rights against, and interests in, the Debtors or any of their assets or properties, regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of
such Claims and Interests, including demands, liabilities, and Causes of Action that arose before
the Eﬀective Date, any liability (including withdrawal liability) to the extent such Claims or
Interests relate to services performed by employees of the Debtors prior to the Eﬀective Date
and that arise from a termination of employment, any contingent or non-contingent liability on
account of representations or warranties issued on or before the Eﬀective Date, and all debts of
the kind speciﬁed in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case
whether or not: (1) a Proof of Claim based upon such debt or right is Filed or deemed Filed
pursuant to section 501 of the Bankruptcy Code; (2) a Claim or Interest based upon such debt,
right, or interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the holder of
such a Claim or Interest has accepted the Plan. e Conﬁrmation Order shall be a judicial
determination of the discharge of all Claims (other than Reinstated Claims) and Interests (other
than Reinstated Interests) subject to the occurrence of the Eﬀective Date.




                                                 49
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 50 of 64




C.     Release of Liens.

       Except as otherwise speciﬁcally provided in the Plan or in any contract,
instrument, release, or other agreement or document created under the Plan, on the
Eﬀective Date and concurrently with the applicable distributions made under the Plan
and, in the case of a Secured Claim, satisfaction in full of the portion of the Secured
Claim that is Allowed as of the Eﬀective Date, except for Other Secured Claims that the
Debtors elect to Reinstate in accordance with Article III.B.1 of the Plan, all mortgages,
deeds of trust, Liens, pledges, or other security interests against any property of the
Estates shall be fully released and discharged, and all of the right, title, and interest of
any Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests
shall revert to the Reorganized Debtors and their successors and assigns (including
Reorganized Tenrgys), in each case, without any further approval or order of the
Bankruptcy Court and without any action or Filing being required to be made by the
Debtors or Reorganized Debtors; provided, that this Article VIII.C shall not apply to the
Claims of TOG to the extent, if any, such Claims constitute Secured Claims.

       Any holder of such Secured Claim (and the applicable agents for such holder)
shall be authorized and directed, at the sole cost and expense of the Reorganized
Debtors, to release any collateral or other property of any Debtor (including any cash
collateral and possessory collateral) held by such holder (and the applicable agents for
such holder), and to take such actions as may be reasonably requested by the
Reorganized Debtors to evidence the release of such Liens and/or security interests,
including the execution, delivery, and ﬁling or recording of such releases. e
presentation or ﬁling of the Conﬁrmation Order to or with any federal, state,
provincial, or local agency, records oﬃce, or department shall constitute good and
suﬃcient evidence of, but shall not be required to eﬀect, the termination of such Liens.

       To the extent that any holder of a Secured Claim that has been satisﬁed or
discharged in full pursuant to the Plan, or any agent for such holder, has ﬁled or
recorded publicly any Liens and/or security interests to secure such holder’s Secured
Claim, then as soon as practicable on or aer the Eﬀective Date, such holder (or the
agent for such holder) shall take any and all steps requested by the Debtors or the
Reorganized Debtors that are necessary or desirable to record or eﬀectuate the
cancellation and/or extinguishment of such Liens and/or security interests, including
the making of any applicable ﬁlings or recordings, and the Reorganized Debtors shall
be entitled to make any such ﬁlings or recordings on such holder’s behalf.

D.     Releases by the Debtors.

       Notwithstanding anything contained herein to the contrary, to the fullest extent
permitted by applicable law and approved by the Bankruptcy Court, under section
1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby conﬁrmed, on and aer the Eﬀective Date, each Released Party is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably, and forever
released and discharged by each and all of the Debtors, the Reorganized Debtors, and
their Estates, and any person seeking to exercise the rights of the Debtors or their



                                            50
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 51 of 64




Estates, including any successors to the Debtors or any Estates representatives
appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy Code, in each
case on behalf of themselves and their respective successors, assigns, and
representatives, and any and all other Entities who may purport to assert any Claim or
Cause of Action, directly or derivatively, by, through, for, or because of the foregoing
Entities, from any and all Claims, interests, obligations, rights, suits, damages, Causes
of Action, including any derivative claims, asserted on behalf of the Debtors, the
Reorganized Debtors, or their Estates, as applicable, whether known or unknown,
foreseen or unforeseen, matured or unmatured, asserted or unasserted, suspected or
unsuspected, accrued or unaccrued, ﬁxed, contingent or noncontingent, pending or
threatened, existing or hereaer arising, in law, equity, contract, tort or otherwise, that
the Debtors, the Reorganized Debtors, or their Estates would have been legally entitled
to assert in their own right (whether individually or collectively) or on behalf of the
holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating
to, or in any manner arising from, in whole or in part, the Debtors (including the
Debtors’ capital structure, management, ownership, or operation thereof), the
assertion or enforcement of rights and remedies against the Debtors, the Debtors’ in-
or out-of-court restructuring eﬀorts, any avoidance actions, intercompany transactions
between or among a Debtor or an aﬃliate of a Debtor and another Debtor or aﬃliate of
a Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation, entry into or ﬁling of the RSA, the Disclosure Statement, the Plan
(including, for the avoidance of doubt, the Plan Supplement), the Deﬁnitive
Documents, or any aspect of the Restructuring Transactions, including any contract,
instrument, release, or other agreement or document created or entered into in
connection with the RSA, the Disclosure Statement, the Plan, or the Deﬁnitive
Documents, the ﬁling of the Chapter 11 Cases, the pursuit of Conﬁrmation, the pursuit
of consummation of the Plan, the administration and implementation of the Plan or
the distribution of property under the Plan or any other related agreement, or upon
any other act or omission, transaction, agreement, event, or other occurrence, in each
case, taking place on or before the Plan Eﬀective Date related or relating to any of the
foregoing. Notwithstanding anything contained herein to the contrary, the foregoing
release does not release any obligations of any party under the Plan or any document,
instrument, or agreement executed to implement the Plan.

       Notwithstanding anything contained herein to the contrary, the foregoing
release does not release (i) any obligations of any party under the Plan or any
document, instrument, or agreement executed to implement the Plan, (ii) any claims
related to any act or omission that is determined in a Final Order to have constituted
willful misconduct, gross negligence, or actual fraud, (iii) the rights of any current
employee of the Debtors under any employment agreement or plan, (iv) the rights of
the Debtors with respect to any conﬁdentiality provisions or covenants restricting
competition in favor of the Debtors under any employment agreement with a current
or former employee of the Debtors, or (v) the rights of holders of Allowed Claims or
Interests to receive distributions under the Plan.

      Entry of the Conﬁrmation Order shall constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the foregoing Debtor release, which


                                            51
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 52 of 64




includes by reference each of the related provisions and deﬁnitions contained in the
Plan, and further, shall constitute the Bankruptcy Court’s ﬁnding that the foregoing
Debtor release is: (a) in exchange for the good and valuable consideration provided by
the Released Parties, including, without limitation, the Released Parties’ contributions
to facilitating the Restructuring Transactions and implementing the Plan; (b) a good
faith settlement and compromise of the Claims released by the foregoing Debtor
release; (c) in the best interests of the Debtors and their Estates and all holders of Claims
and Interests; (d) fair, equitable, and reasonable; (e) given and made aer due notice and
opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized Debtors,
or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the
foregoing Debtor release.

E.     Releases by Holders of Claims and Interests.

       Except as otherwise expressly set forth in the Plan or the Conﬁrmation Order,
on and aer the Eﬀective Date, in exchange for good and valuable consideration, the
adequacy of which is hereby conﬁrmed, each Released Party is, and is deemed to be,
hereby conclusively, absolutely, unconditionally, irrevocably and forever, released and
discharged by each and all of the Releasing Party from any and all Causes of Action,
whether known or unknown, foreseen or unforeseen, matured or unmatured, asserted
or unasserted, suspected or unsuspected, accrued or unaccrued, ﬁxed, contingent or
noncontingent, pending or threatened, existing or hereaer arising, in law, equity,
contract, tort, or otherwise, including any derivative claims asserted on behalf of the
Debtors, the Reorganized Debtors, or their Estates, that such Entity would have been
legally entitled to assert (whether individually or collectively), based on or relating to,
or in any manner arising from, in whole or in part, the Debtors (including the Debtors’
capital structure, management, ownership, or operation thereof), the Debtors’ in- or
out-of-court restructuring eﬀorts, intercompany transactions between or among a
Debtor or an aﬃliate of a Debtor and another Debtor or aﬃliate of a Debtor, the Chapter
11 Cases, the formulation, preparation, dissemination, negotiation, entry into or ﬁling
of the RSA, the Disclosure Statement, the Plan (including, for the avoidance of doubt,
the Plan Supplement), the Deﬁnitive Documents, or any aspect of the Restructuring
Transactions, including any contract, instrument, release, or other agreement or
document created or entered into in connection with the RSA, the Disclosure
Statement, the Plan, or the Deﬁnitive Documents, the ﬁling of the Chapter 11 Cases,
the pursuit of Conﬁrmation, the pursuit of consummation of the Plan, the
administration and implementation of the Plan, or the distribution of property under
the Plan or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence, in each case, taking place on or before the Plan
Eﬀective Date related or relating to any of the foregoing.

       Notwithstanding anything contained herein to the contrary, the foregoing
release does not release (i) any obligations of any party under the Plan or any
document, instrument, or agreement executed to implement the Plan, (ii) any claims
related to any act or omission that is determined in a Final Order to have constituted
willful misconduct, gross negligence, or actual fraud, (iii) the rights of any current
employee of the Debtors under any employment agreement or plan, (iv) the rights of


                                             52
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 53 of 64




the Debtors with respect to any conﬁdentiality provisions or covenants restricting
competition in favor of the Debtors under any employment agreement with a current
or former employee of the Debtors, or (v) the rights of holders of Allowed Claims or
Interests to receive distributions under the Plan.

        Entry of the Conﬁrmation Order shall constitute the Bankruptcy Court’s
approval, pursuant to Bankruptcy Rule 9019, of the foregoing third-party release,
which includes by reference each of the related provisions and deﬁnitions contained
herein, and, further, shall constitute the Bankruptcy Court’s ﬁnding that the foregoing
third-party release is: (a) consensual; (b) essential to the Conﬁrmation of the Plan; (c)
given in exchange for a substantial contribution and for the good and valuable
consideration provided by the Released Parties that is important to the success of the
Plan; (d) a good faith settlement and compromise of the Claims released by the
foregoing third-party release; (e) in the best interests of the Debtors and their Estates;
(f) fair, equitable, and reasonable; (g) given and made aer due notice and opportunity
for hearing; and (h) a bar to any of the Releasing Parties asserting any claim or Cause
of Action released pursuant to the foregoing third-party release.



F.    Exculpation

       Except as otherwise speciﬁcally provided in the Plan, no Exculpated Party shall
have or incur liability for, and each Exculpated Party is hereby released and exculpated
from any Cause of Action for any claim related to any act or omission in connection
with, relating to, or arising out of, the Chapter 11 Cases, the formulation, preparation,
dissemination, negotiation, entry into, ﬁling or termination of the RSA and related
prepetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, or
any transaction related to the Restructuring Transactions, any contract, instrument,
release or other agreement or document created or entered into before or during the
Chapter 11 Cases, any preference, fraudulent transfer, or other avoidance claim arising
under chapter 5 of the Bankruptcy Code or other applicable law, the ﬁling of the
Chapter 11 Cases, the pursuit of Conﬁrmation, the pursuit of consummation of the
Plan, the administration and implementation of the Plan or the distribution of
property under the Plan or any other related agreement, except for claims related to
any act or omission that is determined in a Final Order to have constituted actual fraud,
gross negligence or willful misconduct, but in all respects such Exculpated Parties shall
be entitled to reasonably rely upon the advice of counsel with respect to their duties
and responsibilities under the Plan.

G.    Injunction

       Except as otherwise expressly provided in the Plan or for obligations issued or
required to be paid under the Plan or the Conﬁrmation Order, all Entities that have
held, hold, or may hold claims or interests that have been released under Article VIII.D
or Article VIII.E of the Plan, shall be discharged under Article VIII.A of the Plan, or are
subject to exculpation under Article VIII.F of the Plan, are permanently enjoined, from
and aer the Eﬀective Date, from taking any of the following actions against, as


                                            53
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 54 of 64




applicable, the Debtors, the Reorganized Debtors, or the Released Parties: (i)
commencing or continuing in any manner any action or other proceeding of any kind
on account of or in connection with or with respect to any such claims or interests; (ii)
enforcing, attaching, collecting, or recovering by any manner or means any judgment,
award, decree, or order against such Entities on account of or in connection with or
with respect to any such claims or interests; (iii) creating, perfecting, or enforcing any
lien or encumbrance of any kind against such Entities or the property or the estates of
such Entities on account of or in connection with or with respect to any such claims or
interests; (iv) asserting any right of setoﬀ, subrogation, or recoupment of any kind
against any obligation due from such Entities or against the property of such Entities
on account of or in connection with or with respect to any such claims or interests
unless such Entity has timely asserted such setoﬀ right in a document Filed with the
Bankruptcy Court explicitly preserving such setoﬀ, and notwithstanding an indication
of a claim or interest or otherwise that such Entity asserts, has, or intends to preserve
any right of setoﬀ under applicable law or otherwise; and (v) commencing or
continuing in any manner any action or other proceeding of any kind on account of or
in connection with or with respect to any such claims or interests released or settled
under the Plan; provided, however, that such injunction shall not apply to claims related
to any act or omission that is determined in a ﬁnal order to have constituted actual
fraud, willful misconduct, or gross negligence.

       Upon entry of the Conﬁrmation Order, all holders of Claims and Interests and
their respective current and former employees, agents, oﬃcers, directors, principals,
and direct and indirect Aﬃliates shall be enjoined from taking any actions to interfere
with the implementation or Consummation of the Plan. Each holder of an Allowed
Claim or Allowed Interest, as applicable, by accepting, or being eligible to accept,
distributions under or Reinstatement of such Claim or Interest, as applicable, pursuant
to the Plan, shall be deemed to have consented to the injunction provisions set forth in
this Article VIII.G.

H.     Protections Against Discriminatory Treatment

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the
U.S. Constitution, all Entities, including Governmental Units, shall not discriminate against the
Reorganized Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter,
franchise, or other similar grant to, condition such a grant to, discriminate with respect to such
a grant against, the Reorganized Debtors, or another Entity with whom the Reorganized Debtors
have been associated (including TOG), solely because each Debtor has been a debtor under
chapter 11 of the Bankruptcy Code, has been insolvent before the commencement of the Chapter
11 Cases (or during the Chapter 11 Cases but before the Debtors are granted or denied a
discharge), or has not paid a debt that is dischargeable in the Chapter 11 Cases.

I.     Regulatory Activities

       Notwithstanding anything to the contrary herein, nothing in the Plan or Conﬁrmation
Order is intended to aﬀect the police or regulatory activities of Governmental Units or other




                                               54
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 55 of 64




governmental agencies, except to the extent permied by the Bankruptcy Code and other
applicable law.

J.     Recoupment

        In no event shall any Holder of Claims or Interests be entitled to recoup any Claim against
any claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable,
unless such Holder actually has performed such recoupment and provided notice thereof in
writing to the Debtors on or before the Conﬁrmation Date, notwithstanding any indication in
any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve any right
of recoupment. Neither the failure to eﬀect such a setoﬀ nor the allowance of any Claim under
the Plan shall constitute a waiver or release by the Debtors, the Reorganized Debtors or any
other party in interests of any such Claims, Interests, rights and Causes of Action that the
Debtors, the Reorganized Debtors or any other party in interest may possess against any such
holder, except as speciﬁcally provided herein.


K.     Document Retention

       On and aer the Eﬀective Date, the Reorganized Debtors may maintain documents in
accordance with their standard document retention policy, as may be altered, amended, modiﬁed,
or supplemented by the Reorganized Debtors.

                                   ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONFIRMATION
                        AND CONSUMMATION OF THE PLAN

A.     Conditions Precedent to Conﬁrmation

        It shall be a condition to Conﬁrmation with respect to the Debtors that the following
shall have been satisﬁed or waived under the provisions of Article IX.C of the Plan:

       1.      e Deﬁnitive Documents will contain terms and conditions consistent in all
respects with the RSA, and otherwise acceptable or reasonably acceptable, as applicable, in form
and substance to the Consenting 2013 Loan Lender;

       2.     the Bankruptcy Court shall have entered the Disclosure Statement Order, in form
and substance acceptable to the Consenting 2013 Loan Lender, and such Disclosure Statement
Order shall not have been reversed, stayed, amended, modiﬁed, dismissed, vacated, or
reconsidered in form or substance that is not otherwise acceptable to the Consenting 2013 Loan
Lender;

       3.     the Plan Supplement and any other Deﬁnitive Document then in eﬀect or Filed
with the Bankruptcy Court will contain terms and conditions consistent in all respects with the
RSA, and otherwise reasonably acceptable in form and substance to the Consenting 2013 Loan
Lender; and




                                                55
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 56 of 64




       4.      the RSA shall remain in full force and eﬀect and shall not have been terminated,
and there shall be no default thereunder.

B.     Conditions Precedent to the Eﬀective Date

       It shall be a condition to the Eﬀective Date that the following conditions shall have been
satisﬁed or waived under the provisions of Article IX.C of the Plan:

       1.      e Deﬁnitive Documents will contain terms and conditions consistent in all
respects with the RSA, and otherwise acceptable or reasonably acceptable, as applicable, in form
and substance to the Consenting 2013 Loan Lender and such Deﬁnitive Documents for the
Restructuring Transactions shall have been executed and remain in full force and eﬀect;

       2.     the Plan Supplement and any other Deﬁnitive Document then in eﬀect or Filed
with the Bankruptcy Court will contain terms and conditions consistent in all material respects
with the RSA, and otherwise reasonably satisfactory in form and substance to the Consenting
2013 Loan Lender and such Plan Supplement documents for the Restructuring Transactions shall
have been executed and remain in full force and eﬀect;

       3.       the RSA and any other Deﬁnitive Document then in eﬀect or Filed with the
Bankruptcy Court shall remain in full force and eﬀect and shall not have been terminated, and
there shall be no default thereunder;

       4.     the Bankruptcy Court will have entered the Conﬁrmation Order, in form and
substance acceptable to the Consenting 2013 Loan Lender, and such Conﬁrmation Order will not
have been reversed, stayed, amended, modiﬁed, dismissed, vacated, or reconsidered, unless in
form and substance that is acceptable to the Consenting 2013 Loan Lender;

       5.      the ﬁnal version of the Plan, Plan Supplement, and all of the schedules,
documents, and exhibits contained therein, and all other schedules, documents, supplements,
and exhibits to the Plan (or contemplated by the RSA) shall be consistent with the RSA, and in
form and substance acceptable or reasonably acceptable, as applicable, to the Consenting 2013
Loan Lender;

        6.      the Debtors shall have obtained all material authorizations, consents, regulatory
approvals, rulings, or documents that are necessary to implement and eﬀectuate the Plan,
including Bankruptcy Court approval, and each of the other transactions contemplated by the
Restructuring Transactions, and such material authorizations, consents, regulatory approvals,
rulings, or documents shall not be subject to unfulﬁlled conditions and shall be in full force and
eﬀect, and all applicable regulatory waiting periods will have expired;

        7.      the Debtors shall have complied, in all material respects, with the terms of the
Plan that are to be performed by the Debtors on or prior to the Eﬀective Date and the conditions
to the occurrence of the Eﬀective Date (other than any conditions relating to the occurrence of
the closing) set forth in the Plan shall have been satisﬁed or, with the prior consent of the
Consenting 2013 Loan Lender waived in accordance with the terms of the Plan;




                                               56
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 57 of 64




       8.      the Restructuring Transactions to be implemented on the Eﬀective Date shall be
consistent with the Plan and the RSA;

       9.     the Debtors shall have paid in full and in cash all Consenting 2013 Loan Lender
Restructuring Expenses invoiced no later than one business day prior to the Eﬀective Date;

       10.    the New Secured Term Loan Documents will be in full force and eﬀect as of the
Eﬀective Date; and

       11.     the Debtors shall not have ﬁled, supported, or consented to any motion,
application, adversary proceeding, or cause of action (A) challenging the validity or
enforceability of, or seeking avoidance or subordination of the 2013 Loan Claim, (B) otherwise
seeking to impose liability upon or enjoin the Consenting 2013 Loan Lender, or (C) by any third
party seeking standing to bring such application, adversary proceeding, or cause of action.

C.     Waiver of Conditions

       e conditions to Conﬁrmation and Consummation set forth in this Article IX may be
waived may be waived, in whole or in part, in writing (which may be via e-mail) by the Debtors
and the Consenting 2013 Loan Lender, without notice, leave, or order of the Bankruptcy Court
or any formal action other than proceedings to conﬁrm or consummate the Plan.

D.     Substantial Consummation

        “Substantial Consummation” of the Plan, as deﬁned in 11 U.S.C. § 1101(2), with respect
to any of the Debtors, shall be deemed to occur on the Eﬀective Date with respect to such Debtor.

E.     Eﬀect of Failure of Conditions

       If the Eﬀective Date does not occur with respect to any of the Debtors, the Plan shall be
null and void in all respects with respect to such Debtor, and nothing contained in the Plan or
the Disclosure Statement shall: (1) constitute a waiver or release of any Claims by or Claims
against or Interests in such Debtors; (2) prejudice in any manner the rights of such Debtors, any
Holders of a Claim or Interest, or any other Entity; or (3) constitute an admission,
acknowledgment, oﬀer, or undertaking by such Debtors, any Holders, or any other Entity in any
respect.

                               ARTICLE X.
          MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.     Modiﬁcation and Amendments

       Subject to the limitations contained in the Plan and the RSA, the Debtors reserve the right
to modify the Plan and seek Conﬁrmation consistent with the Bankruptcy Code and, as
appropriate, not resolicit votes on such modiﬁed Plan. Subject to certain restrictions and
requirements set forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and
those restrictions on modiﬁcations set forth in the Plan and the RSA, the Debtors expressly
reserve their rights to alter, amend, or modify materially the Plan, one or more times, aer


                                               57
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 58 of 64




Conﬁrmation, and, to the extent necessary, may initiate proceedings in the Bankruptcy Court to
so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any
inconsistencies in the Plan, the Disclosure Statement, or the Conﬁrmation Order, in such maers
as may be necessary to carry out the purposes and intent of the Plan.

B.     Eﬀect of Conﬁrmation on Modiﬁcations

       Entry of a Conﬁrmation Order shall mean that all modiﬁcations or amendments to the
Plan since the solicitation thereof are approved under section 1127(a) of the Bankruptcy Code
and do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

C.     Revocation or Withdrawal of Plan

       e Debtors reserve the right to revoke or withdraw the Plan before the Conﬁrmation
Date, consistent with the RSA. If the Debtors revoke or withdraw the Plan, or if Conﬁrmation
and Consummation does not occur, then: (1) the Plan shall be null and void in all respects; (2)
any selement or compromise embodied in the Plan (including the ﬁxing or limiting to an
amount certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection
of Executory Contracts or Unexpired Leases eﬀectuated by the Plan, and any document or
agreement executed under the Plan, shall be deemed null and void; and (3) nothing contained in
the Plan shall: (a) constitute a waiver or release of any Claims or Interests; (b) prejudice in any
manner the rights of the Debtors or any other Entity, including the Holders of Claims; or (c)
constitute an admission, acknowledgement, oﬀer, or undertaking of any sort by the Debtors or
any other Entity.

                                      ARTICLE XI.
                               RETENTION OF JURISDICTION

        Notwithstanding the entry of the Conﬁrmation Order and the occurrence of the Eﬀective
Date, on and aer the Eﬀective Date, the Bankruptcy Court shall retain exclusive jurisdiction
over all maers arising out of, or related to, the Chapter 11 Cases and the Plan under sections
105(a) and 1142 of the Bankruptcy Code to the extent provided under applicable law, including
jurisdiction to:

       1.      allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
Secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the Secured or unsecured status, priority, amount, or allowance of Claims or Interests;

       2.      decide and resolve all maers related to the granting and denying, in whole or in
part, of any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized under the Bankruptcy Code or the Plan;

        3.     resolve any maers related to: (a) the assumption, assumption and assignment, or
rejection of any Executory Contract or Unexpired Lease to which a Debtor is party or with
respect to which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any
Claims arising therefrom, including Cure Claims under section 365 of the Bankruptcy Code; (b)
any potential contractual obligation under any Executory Contract or Unexpired Lease that is


                                                58
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 59 of 64




assumed; (c) the Reorganized Debtors’ amending, modifying, or supplementing, aer the
Eﬀective Date, under Article V of the Plan, any Executory Contracts or Unexpired Leases to the
Rejected Executory Contracts and Unexpired Lease List, or otherwise; and (d) any dispute
regarding whether a contract or lease is or was executory or expired;

        4.    adjudicate, decide, or resolve any motions, adversary proceedings, contested or
litigated maers, and any other maers, and grant or deny any applications involving a Debtor
that may be pending on the Eﬀective Date;

       5.      adjudicate, decide, or resolve any and all maers related to Causes of Action;

      6.     adjudicate, decide, or resolve any and all maers related to section 1141 of the
Bankruptcy Code;

       7.     enter and implement such orders as may be necessary to execute, implement, or
consummate the Plan and all contracts, instruments, releases, indentures, and other agreements
or documents created in connection with the Plan or the Disclosure Statement, including
injunctions or other actions as may be necessary to restrain interference by an Entity with
Consummation or enforcement of the Plan;

       8.      enter and enforce any order for the sale of property under sections 363, 1123, or
1146(a) of the Bankruptcy Code;

      9.      adjudicate, decide, or resolve any and all maers related to the Restructuring
Transactions;

      10.    grant any consensual request to extend the deadline for assuming or rejecting
Unexpired Leases under section 365(d)(4) of the Bankruptcy Code;

       11.     resolve any cases, controversies, suits, disputes, Causes of Action, or any other
maers that may arise in connection with the Consummation, interpretation, or enforcement of
the Plan, the Disclosure Statement, the Conﬁrmation Order, or the Restructuring Transactions,
or any Entity’s obligations incurred in connection with the foregoing, including disputes arising
under agreements, documents, or instruments executed in connection with the Plan, the
Disclosure Statement, the Conﬁrmation Order, or the Restructuring Transactions;

        12.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the releases, injunctions, and other provisions contained in Article VIII of the Plan and enter
such orders as may be necessary to implement such releases, injunctions, and other provisions;

       13.     resolve any cases, controversies, suits, disputes, or Causes of Action relating to
the distribution or the repayment or return of distributions and the recovery of additional
amounts owed by the Holder of a Claim for amounts not timely repaid under Article VI.I.1 of the
Plan;

      14.    issue injunctions, enter and implement other orders, or take such other actions as
may be necessary or appropriate to restrain interference by or assess damages against any Entity
with Consummation or enforcement of the Plan or the Restructuring Transactions;


                                                59
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 60 of 64




       15.   enter and implement such orders as are necessary if the Conﬁrmation Order is for
any reason modiﬁed, stayed, reversed, revoked, or vacated;

       16.     enter an order or decree concluding or closing the Chapter 11 Cases;

       17.     adjudicate any and all disputes arising from or relating to distributions under the
Plan or any of the transactions contemplated therein;

       18.     consider any modiﬁcations of the Plan, to cure any defect or omission, or to
reconcile any inconsistency in any Bankruptcy Court order, including the Conﬁrmation Order;

        19.   determine requests for the payment of Claims entitled to priority under section
507 of the Bankruptcy Code;

       20.      hear and determine maers concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code, including any request made
under section 505 of the Bankruptcy Code for the expedited determination of any unpaid liability
of a Debtor for any tax incurred during the administration of the Chapter 11 Cases, including
any tax liability arising from or relating to the Restructuring Transactions, for tax periods ending
aer the Petition Date and through the closing of the Chapter 11 Cases;

        21.    hear and determine all disputes involving the existence, nature, or scope of the
release provisions set forth in the Plan;

        22.    hear and determine all disputes involving the obligations or terms of the Exit
Facility and the New Secured Term Loan;

        23.     except as otherwise limited herein, recover all assets of the Debtors and property
of the Estates, wherever located;

       24.     enforce all orders previously entered by the Bankruptcy Court; and

       25.     hear any other maer not inconsistent with the Bankruptcy Code.

        As of the Eﬀective Date, notwithstanding anything in this Article XI to the contrary, the
Reorganized Equity Documents, the New Secured Term Loan Documents and any documents
related thereto shall be governed by the jurisdictional provisions therein and the Bankruptcy
Court shall retain jurisdiction with respect thereto.

                                      ARTICLE XII.
                               MISCELLANEOUS PROVISIONS

A.     Immediate Binding Eﬀect.

        Subject to Article IX.B of the Plan, as applicable, and notwithstanding Bankruptcy Rules
3020(e), 6004(h), or 7062 or otherwise, upon the occurrence of the Eﬀective Date, the terms of
the Plan shall be immediately eﬀective and enforceable and deemed binding upon the Debtors,
the Reorganized Debtors, and any and all Holders of Claims or Interests (irrespective of whether
such Claims or Interests are deemed to have accepted the Plan), all Entities that are parties to or


                                                60
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 61 of 64




are subject to the selements, compromises, releases, discharges, exculpations, and injunctions
described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor
parties to Executory Contracts and Unexpired Leases with the Debtors. All Claims and debts
shall be as ﬁxed, adjusted, or compromised, as applicable, under the Plan regardless of whether
any Holder of a Claim or debt has voted on the Plan.

B.     Additional Documents.

        On or before the Eﬀective Date, the Debtors may File with the Bankruptcy Court such
agreements and other documents as may be necessary or advisable to eﬀectuate and further
evidence the terms and conditions of the Plan, consistent with the terms of the RSA. e Debtors
or the Reorganized Debtors, as applicable, and all Holders of Claims and Interests receiving
distributions under the Plan and all other parties in interest shall, from time to time, prepare,
execute, and deliver any agreements or documents and take any other actions as may be
necessary or advisable to eﬀectuate the provisions and intent of the Plan.

C.     Payment of Statutory Fees.

        All fees payable under section 1930(a) of the Judicial Code, including fees and expenses
payable to the U.S. Trustee, as determined by the Bankruptcy Court at a hearing under section
1128 of the Bankruptcy Code, will be paid by or on behalf of each of the applicable Reorganized
Debtors for each quarter (including any fraction thereo) until the applicable Chapter 11 Case of
such Reorganized Debtor is converted, dismissed, or closed, whichever occurs ﬁrst. All such fees
due and payable prior to the Eﬀective Date shall be paid by the Debtors on the Eﬀective Date.
Aer the Eﬀective Date, the applicable Reorganized Debtor shall pay or cause to be paid any and
all such fees when due and payable, and shall ﬁle with the Bankruptcy Court quarterly reports
in a form reasonably acceptable to the U.S. Trustee, until the earliest of the date on which the
applicable Chapter 11 Case of the Reorganized Debtor is converted, dismissed, or closed.

D.     Reservation of Rights.

        Except as expressly set forth in the Plan, the Plan shall have no force or eﬀect unless the
Bankruptcy Court enters the Conﬁrmation Order. None of the Filing of the Plan, any statement
or provision contained in the Plan, or the taking of any action by any Debtor with respect to the
Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed to be an
admission or waiver of any rights of any Debtor or any other Entity with respect to the Holders
of Claims or Interests prior to the Eﬀective Date.

E.     Successors and Assigns.

       e rights, beneﬁts, and obligations of any Entity named or referred to in the Plan shall
be binding on, and shall inure to the beneﬁt of any heir, executor, administrator, successor,
assign, aﬃliate, oﬃcer, director, manager, agent, representative, aorney, beneﬁciaries, or
guardian, if any, of each Entity.




                                                61
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 62 of 64




F.     Notices.

        All notices, requests, and demands to or upon the Debtors to be eﬀective shall be in
writing (including by facsimile transmission) and, unless otherwise expressly provided herein,
shall be deemed to have been duly given or made when actually delivered or, in the case of notice
by facsimile transmission, when received and telephonically conﬁrmed, addressed as follows:

       1.     if to a Debtor or Reorganized Debtor, to:

                      Tenrgys, LLC
                      602 Crescent Place
                      Ridgeland, Mississippi 39157
                      Aention: Richard H. Mills, Jr.
                      Telephone: (601) 898-7444
                      Email: rmills@tellusoperating.com

              with copies to:

                      omas E. Woﬀord
                      602 Crescent Place
                      Ridgeland, Mississippi 39157
                      Telephone No. (601) 898-7444
                      Facsimile No. (601) 898-7446

                      Copeland, Cook, Taylor & Bush, P.A.
                      1076 Highland Colony Parkway
                      600 Concourse, Suite 200
                      Ridgeland, Mississippi 39157
                      Aention: Glenn Gates Taylor, John Geary, Christopher Meredith
                      Email: gtaylor@cctb.com; jgeary@cctb.com; cmeredith@cctb.com

       2.     if to the Consenting 2013 Loan Lender, to:

                      FSEP Investments, Inc.
                      c/o EIG Management Company, LLC
                      600 New Hampshire Ave NW, Suite 1200
                      Washington, DC 20037
                      An: Eric Long; Legal Department
                      Email: eric.long@eigpartners.com; notices@eigpartners.com
                      Telephone: (202) 600-3693
                      Fax: (202) 600-4205

              with copies to:

                      Davis Polk & Wardwell
                      450 Lexington Avenue
                      New York, NY 10017



                                               62
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 63 of 64




                       Telephone No. (212) 450-4000
                       Aen: Damian S. Schaible and Jonah A. Peppia
                       Email: damian.schaible@davispolk.com and
                       jonah.peppia@davispolk.com

                       Adams and Reese LLP
                       300 Renaissance, 1018 Highland Colony Parkway, Suite 800
                       Ridgeland, Mississippi 39157
                       An: Timothy Anzenberger
                       Email: Tim.Anzenberger@arlaw.com

        Aer the Eﬀective Date, the Reorganized Debtors shall have the authority to send a notice
to Entities that to continue to receive documents under Bankruptcy Rule 2002, such Entity must
File a renewed request to receive documents under Bankruptcy Rule 2002. Aer the Eﬀective
Date, the Reorganized Debtors are authorized to limit the list of Entities receiving documents
under Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

G.     Term of Injunctions or Stays

        Unless otherwise provided in the Plan or the Conﬁrmation Order, all injunctions or stays
that are in force and eﬀect in the Chapter 11 Cases under sections 105 or 362 of the Bankruptcy
Code or any order of the Bankruptcy Court (excluding any injunctions or stays contained in the
Plan or the Conﬁrmation Order) shall remain in full force and eﬀect until the Eﬀective Date. All
injunctions or stays contained in the Plan or the Conﬁrmation Order shall remain in full force
and eﬀect in accordance with their terms.

H.     Entire Agreement

       Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

I.     Exhibits

        All exhibits and documents included in the Plan Supplement are incorporated into and
are a part of the Plan as if set forth in full in the Plan. Aer the exhibits and documents are Filed,
copies of such exhibits and documents shall be available upon wrien request to the Debtors’
aorneys at the address set forth in Article XII.F or by downloading the exhibits and documents
from the Court’s website at hps://ecf.mssb.uscourts.gov/ (for a fee).

J.     Nonseverability of Plan Provisions

        If, before Conﬁrmation, any term or provision of the Plan is held by the Bankruptcy Court
to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and


                                                 63
 21-01515-JAW Dkt 108 Filed 10/01/21 Entered 10/01/21 20:22:34 Page 64 of 64




provisions of the Plan will remain in full force and eﬀect and will in no way be aﬀected, impaired,
or invalidated by such holding, alteration, or interpretation. e Conﬁrmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as
it may have been altered or interpreted in accordance with the foregoing, is: (1) valid and
enforceable by its terms; (2) integral to the Plan and may not be deleted or modiﬁed without the
Debtors’ or Reorganized Debtors’ consent; provided, that any such deletion or modiﬁcation must
be consistent with the RSA, Exit Facility Documents, and New Secured Term Loan Documents,
as applicable; and (3) nonseverable and mutually dependent.

K.     Votes Solicited in Good Faith.

        Upon entry of the Conﬁrmation Order, the Debtors and Reorganized Debtors will be
deemed to have solicited votes on the Plan in good faith and in compliance with the Bankruptcy
Code, and under section 1125(e) of the Bankruptcy Code, the Debtors, the Reorganized Debtors,
and each of their respective Aﬃliates, agents, representatives, members, principals, shareholders,
oﬃcers, directors, managers, employees, advisors, and aorneys will be deemed to have
participated in good faith and in compliance with the Bankruptcy Code in the oﬀer, issuance,
sale, and purchase of Securities oﬀered and sold under the Plan and any previous plan, and,
therefore, neither any of such parties or individuals or the Debtors or the Reorganized Debtors
will have any liability for the violation of any applicable law (including the Securities Act), rule,
or regulation governing the solicitation of votes on the Plan or the oﬀer, issuance, sale, or
purchase of the Securities oﬀered and sold under the Plan and any previous plan.

L.     Waiver or Estoppel.

        Each Holder of a Claim or Interest shall be deemed to have waived any right to assert
any argument, including the right to argue that its Claim or Interest should be Allowed in a
certain amount, in a certain priority, Secured or not subordinated by virtue of an agreement
made with the Debtors or their counsel, or any other Entity, if such agreement was not disclosed
in the Plan, the Disclosure Statement, or papers Filed before the Conﬁrmation Date.

M.     Closing of Chapter 11 Cases

        e Reorganized Debtors shall, promptly aer the full administration of the Chapter 11
Cases, File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any
applicable order of the Bankruptcy Court to close the Chapter 11 Cases; provided that the
Reorganized Debtors may, in their discretion, close certain of the Chapter 11 Cases while
allowing other Chapter 11 Cases to continue for the purposes of making distributions on account
of Claims or administering to Claims as set forth in this Plan, or for any other provision set forth
in this Plan.

       Dated: October 1, 2021

                                              TENRGYS, LLC,
                                              on behalf of itself and all other Debtors

                                              /s/ Richard H. Mills, Jr.
                                              Richard H. Mills, Jr., Manager


                                                 64
